                   Case 22-10621-BLS            Doc 335       Filed 11/08/22        Page 1 of 84




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    Redwood Liquidating Co.,1                               Case No. 22-10621 (BLS)

                               Debtor.


                       DEBTOR’S COMBINED DISCLOSURE STATEMENT
                          AND CHAPTER 11 PLAN OF LIQUIDATION

                                                              RICHARDS, LAYTON & FINGER, P.A.
                                                              Daniel J. DeFranceschi (No. 2732)
                                                              Michael J. Merchant (No. 3854)
                                                              David T. Queroli (No. 6318)
                                                              J. Zachary Noble (No. 6689)
                                                              James F. McCauley (No. 6991)
                                                              One Rodney Square
                                                              920 North King Street
                                                              Wilmington, Delaware 19801
                                                              Telephone: (302) 651-7700
                                                              Facsimile: (302) 651-7701
                                                              defranceschi@rlf.com
                                                              merchant@rlf.com
                                                              queroli@rlf.com
                                                              noble@rlf.com
                                                              mccauley@rlf.com

                                                              Counsel to the Debtor
                                                              and Debtor in Possession
     Dated: November 8, 2022




1
      The Debtor in this Chapter 11 Case, along with the last four digits of its federal tax identification number, is
      Redwood Liquidating Co. (3904). The Debtor’s service address in this Chapter 11 case is 10385 Westmoor Dr.
      #100, Westminster, Colorado 80021.


RLF1 28213990v.1
                   Case 22-10621-BLS                     Doc 335            Filed 11/08/22               Page 2 of 84




                                                        TABLE OF CONTENTS

                                                                                                                                            Page

I.       INTRODUCTION ...............................................................................................................1

II.      DEFINITIONS AND CONSTRUCTION OF TERMS.......................................................1

         A.         Definitions................................................................................................................1

         B.         Interpretation; Application of Definitions and Rules of Construction...................17

III.     BACKGROUND ...............................................................................................................17

         A.         General Background ..............................................................................................17

                    1.         The Debtor’s Business as of the Petition Date...........................................17

                    2.         The Board of Directors, the Special Committee and Debtor’s Employees
                               ....................................................................................................................18

                    3.         Preferred Equity Funding ...........................................................................18

                    4.         Organizational Structure ............................................................................19

                    5.         Prepetition Debt Structure..........................................................................19

                               a.         Prepetition Loan and Security Agreement .....................................19

                               b.         Unsecured Indebtedness ................................................................19

                    6.         The Debtor’s Equity Holders .....................................................................19

         B.         Circumstances Giving Rise to The Chapter 11 Case .............................................21

                    1.         Prepetition Liquidity Crunch, the Status Quo Order and Relief Orders ....21

                    2.         The Prepetition Marketing Process ............................................................23

                    3.         The Forbearance.........................................................................................25

                    4.         Chapter 11 Financing Discussions .............................................................25

         C.         The Chapter 11 Case ..............................................................................................26

                    1.         First Day Motions and Orders (other than the DIP Motion and DIP
                               Financing Order) ........................................................................................26

                    2.         Post-Petition Financing and Bidding Procedures ......................................28



RLF1 28213990v.1
                   Case 22-10621-BLS                     Doc 335             Filed 11/08/22               Page 3 of 84




                    3.         No Appointment of Committee .................................................................28

                    4.         The Motion to Dismiss...............................................................................29

                    5.         Employment and Compensation of Debtor’s Professionals and Advisors 29

                    6.         Post-Petition Sale Process ..........................................................................29

                    7.         Claims Process and Bar Date .....................................................................31

                               a.          Section 341(a) Meeting of Creditors..............................................31

                               b.          Schedules and Statements ..............................................................32

                               c.          Bar Dates .......................................................................................32

                    8.         KEIP/KERP ...............................................................................................32

                    9.         Rejection of Executory Contracts and Unexpired Leases..........................32

                    10.        Corporate Name Change ............................................................................33

IV.      SUMMARY OF TREATMENT OF CLAIMS AND ESTIMATED RECOVERIES ......33

         A.         Summary of Treatment of Claims and Equity Interests and Estimated Recoveries
                    ................................................................................................................................33

V.       TREATMENT OF UNCLASSIFIED CLAIMS ................................................................37

         A.         Administrative Expense Bar Date ..........................................................................37

         B.         Administrative Expense Claims.............................................................................38

         C.         Prepetition Secured Parties’ Claims.......................................................................38

         D.         DIP Credit Agreement Claims ...............................................................................38

         E.         Priority Tax Claims ................................................................................................38

                    1.         Priority Tax Claims....................................................................................38

                    2.         Other Provisions Concerning Treatment of Priority Tax Claims..............39

         F.         Professional Claims ...............................................................................................39

                    1.         Final Fee Applications and Payment of Professional Claims ...................39

                    2.         Professional Fee Reserve ...........................................................................39

                    3.         Allocation and Estimation of Professional Claims ....................................40

                                                                        ii
RLF1 28213990v.1
                   Case 22-10621-BLS                  Doc 335           Filed 11/08/22             Page 4 of 84




                    4.        Timing for Filing Professional Claims ......................................................40

                    5.        Post-Effective Date Fees and Expenses .....................................................40

         G.         Payment of Statutory Fees .....................................................................................40

VI.      CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS; ESTIMATED
         RECOVERIES ...................................................................................................................41

VII.     TREATMENT OF CLAIMS AND EQUITY INTERESTS .............................................41

         A.         Treatment of Claims ..............................................................................................41

                    1.        CLASS 1 – PRIORITY NON-TAX CLAIMS ...............................................41

                              a.         Classification..................................................................................41

                              b.         Impairment and Voting ..................................................................41

                              c.         Treatment .......................................................................................41

                    2.        CLASS 2 – SECURED CLAIMS ................................................................42

                              a.         Classification..................................................................................42

                              b.         Impairment and Voting ..................................................................42

                              c.         Treatment .......................................................................................42

                    3.        CLASS 3 – GENERAL UNSECURED CLAIMS ........................................42

                              a.         Classification..................................................................................42

                              b.         Impairment and Voting ..................................................................42

                              c.         Treatment .......................................................................................42

                    4.        CLASS 4a – SERIES D PREFERRED EQUITY INTERESTS ...................43

                              a.         Classification..................................................................................43

                              b.         Impairment and Voting ..................................................................43

                              c.         Treatment .......................................................................................43

                    5.        CLASS 4b – SERIES D 510(b) CLAIMS ....................................................43

                              a.         Classification..................................................................................43

                              b.         Impairment and Voting ..................................................................43

                                                                  iii
RLF1 28213990v.1
                   Case 22-10621-BLS           Doc 335           Filed 11/08/22             Page 5 of 84




                          c.      Treatment .......................................................................................43

                    6.    CLASS 5a – SERIES C PREFERRED EQUITY INTERESTS ................44

                          a.      Classification..................................................................................44

                          b.      Impairment and Voting ..................................................................44

                          c.      Treatment .......................................................................................44

                    7.    CLASS 5b – SERIES C 510(b) CLAIMS ....................................................44

                          a.      Classification..................................................................................44

                          b.      Impairment and Voting ..................................................................44

                          c.      Treatment .......................................................................................44

                    8.    CLASS 6a – SERIES B PREFERRED EQUITY INTERESTS ....................44

                          a.      Classification..................................................................................44

                          b.      Impairment and Voting ..................................................................45

                          c.      Treatment .......................................................................................45

                    9.    CLASS 6b – SERIES B 510(b) CLAIMS ....................................................45

                          a.      Classification..................................................................................45

                          b.      Impairment and Voting ..................................................................45

                          c.      Treatment .......................................................................................45

                    10.   CLASS 7a – SERIES A PREFERRED EQUITY INTERESTS ....................45

                          a.      Classification..................................................................................45

                          b.      Impairment and Voting ..................................................................45

                          c.      Treatment .......................................................................................45

                    11.   CLASS 7b – SERIES A 510(b) CLAIMS ....................................................46

                          a.      Classification..................................................................................46

                          b.      Impairment and Voting ..................................................................46

                          c.      Treatment .......................................................................................46


                                                            iv
RLF1 28213990v.1
                   Case 22-10621-BLS                    Doc 335            Filed 11/08/22               Page 6 of 84




                    12.        CLASS 8a – COMMON EQUITY INTERESTS..........................................46

                               a.          Classification..................................................................................46

                               b.          Impairment and Voting ..................................................................46

                               c.          Treatment .......................................................................................46

                    13.        CLASS 8b – COMMON EQUITY 510(B) CLAIMS ...................................47

                               a.          Classification..................................................................................47

                               b.          Impairment and Voting ..................................................................47

                               c.          Treatment .......................................................................................47

         B.         Reservation of Rights Regarding Claims ...............................................................47

         C.         Cramdown and No Unfair Discrimination .............................................................47

VIII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES .........................................48

         A.         Rejection of Executory Contracts and Unexpired Leases......................................48

         B.         Indemnification Claims ..........................................................................................48

         C.         Deadline for Filing Proofs of Claim Relating to Executory Contracts and
                    Unexpired Leases Rejected Pursuant to the Combined Disclosure Statement and
                    Plan ........................................................................................................................48

IX.      IMPLEMENTATION AND EFFECT OF CONFIRMATION OF COMBINED
         DISCLOSURE STATEMENT AND PLAN .....................................................................49

         A.         Means for Implementation of the Combined Disclosure Statement and Plan .......49

                    1.         Funding of Liabilities and Distributions.. ..................................................49

                    2.         Corporate Action; Effectuating Documents; Further Transactions ...........49

                    3.         Direction to Parties.. ..................................................................................49

                    4.         Title to Accounts ........................................................................................49

                    5.         Corporate Documents and Corporate Authority. .......................................49

                    6.         Exemption from Certain Taxes. .................................................................50

X.       PROVISIONS REGARDING THE PLAN ADMINISTRATOR .....................................50



                                                                      v
RLF1 28213990v.1
                   Case 22-10621-BLS                    Doc 335            Filed 11/08/22               Page 7 of 84




         A.         Appointment of the Plan Administrator.................................................................50

         B.         Rights and Powers of the Plan Administrator ........................................................50

         C.         Post Effective Date Expenses of the Plan Administrator.......................................51

         D.         Plan Administrator Agreement ..............................................................................51

XI.      PROVISIONS GOVERNING DISTRIBUTIONS UNDER THE COMBINED
         DISCLOSURE STATEMENT AND PLAN .....................................................................51

         A.         Method of Payment ................................................................................................51

         B.         Objections to and Resolution of Claims ................................................................51

         C.         Claims Objection Deadline ....................................................................................52

         D.         No Distribution Pending Allowance ......................................................................52

         E.         Claims Reserve ......................................................................................................52

         F.         Indemnification Reserve ........................................................................................52

         G.         Timing of Distributions..........................................................................................52

         H.         Delivery of Distributions .......................................................................................53

         I.         Unclaimed Distributions ........................................................................................53

         J.         De Minimis Distributions .......................................................................................53

         K.         Setoff ......................................................................................................................54

         L.         Postpetition Interest ...............................................................................................54

         M.         Allocation of Distributions Between Principal and Interest ..................................54

         N.         No Creditor to Receive More than Payment in Full ..............................................54

         O.         Compliance with Tax Requirements ......................................................................54

XII.     CONFIRMATION AND VOTING PROCEDURES ........................................................54

         A.         Confirmation Procedure .........................................................................................54

                    1.         Confirmation Hearing ................................................................................54

                    2.         Procedure for Objections ...........................................................................55

                    3.         Eligibility to Vote on the Combined Disclosure Statement and Plan ........55

                                                                      vi
RLF1 28213990v.1
                   Case 22-10621-BLS                   Doc 335            Filed 11/08/22              Page 8 of 84




                    4.         Solicitation Notice .....................................................................................55

                    5.         Procedure/Voting Deadlines ......................................................................55

                    6.         Acceptance of the Combined Disclosure Statement and Plan ...................56

                    7.         Elimination of Vacant Classes ...................................................................56

         B.         Statutory Requirements for Confirmation .............................................................56

                    1.         Classification of Claims and Equity Interests ............................................57

                    2.         Impaired Claims or Equity Interests ..........................................................57

                    3.         Best Interest of Creditors Test ...................................................................57

                    4.         Liquidation Analysis ..................................................................................58

                    5.         Feasibility ...................................................................................................58

XIII. CONDITIONS TO THE EFFECTIVE DATE ..................................................................59

         A.         Conditions Precedent to the Effective Date ...........................................................59

         B.         Establishing the Effective Date ..............................................................................59

         C.         Effect of Failure of Conditions ..............................................................................59

         D.         Waiver of Conditions to Confirmation and Effective Date ...................................60

XIV. EXCULPATION, RELEASES AND INJUNCTIONS .....................................................60

         A.         Exculpation.. ..........................................................................................................60

         B.         Releases By the Debtor.. ........................................................................................60

         C.         Third Party Releases ..............................................................................................61

         D.         Injunctions Relating to Releases. ...........................................................................61

         E.         Injunctions to Protect Estate Assets .......................................................................62

XV.      CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING ...................62

         A.         General Bankruptcy Law and Combined Disclosure Statement and Plan
                    Considerations........................................................................................................62

                    1.         The Combined Disclosure Statement and Plan May Not Be Accepted .....62



                                                                    vii
RLF1 28213990v.1
                   Case 22-10621-BLS                    Doc 335            Filed 11/08/22             Page 9 of 84




                    2.         Debtor May Not Be Able to Secure Confirmation of the Combined
                               Disclosure Statement and Plan or Confirmation May be Delayed ............63

                    3.         Risk Affecting Potential Recoveries of Holders of Claims in Voting
                               Classes........................................................................................................63

                    4.         Failure to Consummate the Combined Disclosure Statement and Plan ....63

                    5.         Plan Releases May Not Be Approved ........................................................63

         B.         Risks Associated with Forward Looking Statements ............................................64

         C.         Alternatives to Confirmation and Consummation of the Combined Disclosure
                    Statement and Plan .................................................................................................64

                    1.         Alternative Plan(s) of Liquidation .............................................................64

                    2.         Liquidation under Chapter 7 ......................................................................64

XVI. CERTAIN FEDERAL INCOME TAX CONSEQUENCES.............................................65

XVII. RETENTION OF JURISDICTION ...................................................................................65

XVIII. MISCELLANEOUS PROVISIONS ..................................................................................67

         A.         Books and Records ................................................................................................67

         B.         Revesting of Debtor’s Assets .................................................................................67

         C.         Termination of Injunctions or Stays ......................................................................67

         D.         Amendment or Modification of the Combined Disclosure Statement and Plan ....67

         E.         Severability ............................................................................................................68

         F.         Revocation or Withdrawal of the Combined Disclosure Statement and Plan .......68

         G.         Binding Effect ........................................................................................................68

         H.         Notices ...................................................................................................................68

         I.         Governing Law ......................................................................................................68

         J.         Withholding and Reporting Requirements ............................................................68

         K.         Headings ................................................................................................................69

         L.         Exhibits/Schedules .................................................................................................69



                                                                    viii
RLF1 28213990v.1
               Case 22-10621-BLS                     Doc 335            Filed 11/08/22            Page 10 of 84




         M.        Filing of Additional Documents ............................................................................69

         N.        No Admissions .......................................................................................................69

         O.        Successors and Assigns..........................................................................................69

         P.        Reservation of Rights .............................................................................................69

         Q.        Implementation ......................................................................................................70

         R.        Inconsistency..........................................................................................................70

         S.        Dissolution of Debtor.............................................................................................70

         T.        Termination of the Plan Administrator ..................................................................70

         U.        Request for Expedited Determination of Taxes .....................................................71




                                                                   ix
RLF1 28213990v.1
               Case 22-10621-BLS   Doc 335   Filed 11/08/22   Page 11 of 84




      THIS COMBINED DISCLOSURE STATEMENT AND PLAN CONTAINS CERTAIN
STATUTORY PROVISIONS AND DESCRIBES CERTAIN EVENTS IN THE CHAPTER 11
CASE AND CERTAIN DOCUMENTS RELATED TO THE COMBINED DISCLOSURE
STATEMENT AND PLAN THAT MAY BE ATTACHED AND ARE INCORPORATED BY
REFERENCE. ALTHOUGH THE DEBTOR BELIEVES THAT THIS INFORMATION IS
FAIR AND ACCURATE, THIS INFORMATION IS QUALIFIED IN ITS ENTIRETY TO THE
EXTENT THAT IT DOES NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS
OR STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH EVENTS.

      THE INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS MADE
ONLY AS OF THE DATE OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN,
UNLESS ANOTHER TIME IS SPECIFIED. THIS COMBINED DISCLOSURE STATEMENT
AND PLAN WAS COMPILED FROM INFORMATION OBTAINED FROM NUMEROUS
SOURCES BELIEVED TO BE ACCURATE TO THE BEST OF THE DEBTOR’S
KNOWLEDGE, INFORMATION AND BELIEF. THERE CAN BE NO ASSURANCES THAT
THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER
THIS DATE.

     NO REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY
OF THE FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS
REGARDING THE DEBTOR’S BUSINESS. EXCEPT WHERE SPECIFICALLY NOTED,
THE FINANCIAL INFORMATION CONTAINED IN THIS COMBINED DISCLOSURE
STATEMENT AND PLAN AND IN THE RELATED EXHIBITS HAS NOT BEEN AUDITED
BY A CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES IN THE
UNITED STATES OR ANY OTHER JURISDICTION.

     THIS DISCLOSURE STATEMENT AND PLAN HAS BEEN PREPARED IN
ACCORDANCE WITH SECTIONS 1123 AND 1125 OF THE BANKRUPTCY CODE AND
BANKRUPTCY RULE 3016 AND NOT NECESSARILY IN ACCORDANCE WITH
FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAWS. THIS
COMBINED DISCLOSURE STATEMENT AND PLAN HAS NOT BEEN APPROVED OR
DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION
(THE “SEC”), ANY STATE SECURITIES COMMISSION OR ANY SECURITIES
EXCHANGE OR ASSOCIATION, NOR HAS THE SEC, ANY STATE SECURITIES
COMMISSION OR ANY SECURITIES EXCHANGE OR ASSOCIATION PASSED UPON
THE ACCURACY OR ADEQUACY OF THE STATEMENTS CONTAINED HEREIN. NO
OTHER GOVERNMENTAL OR OTHER REGULATORY AUTHORITY HAS PASSED ON,
CONFIRMED OR DETERMINED THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED HEREIN.

     NOTHING STATED HEREIN SHALL BE DEEMED OR CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN
ANY PROCEEDING INVOLVING THE DEBTOR OR ANY OTHER PARTY, OR BE
DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL EFFECTS OF THE
COMBINED DISCLOSURE STATEMENT AND PLAN ON THE DEBTOR OR HOLDERS OF



RLF1 28213990v.1
               Case 22-10621-BLS   Doc 335       Filed 11/08/22   Page 12 of 84




CLAIMS OR EQUITY INTERESTS. CERTAIN STATEMENTS CONTAINED HEREIN, BY
NATURE, ARE FORWARD-LOOKING AND CONTAIN ESTIMATES AND
ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL
REFLECT ACTUAL OUTCOMES.

     HOLDERS OF CLAIMS AND EQUITY INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN AS
PROVIDING ANY LEGAL, BUSINESS, FINANCIAL OR TAX ADVICE. THEREFORE,
EACH SUCH HOLDER SHOULD CONSULT WITH ITS OWN LEGAL, BUSINESS,
FINANCIAL AND TAX ADVISORS AS TO ANY SUCH MATTERS CONCERNING THE
COMBINED DISCLOSURE STATEMENT AND PLAN AND THE TRANSACTIONS
CONTEMPLATED HEREBY.

     THE DEBTOR SUPPORTS CONFIRMATION OF THE COMBINED
DISCLOSURE STATEMENT AND PLAN AND RECOMMENDS ALL HOLDERS OF
CLAIMS ENTITLED TO VOTE ON THE COMBINED DISCLOSURE STATEMENT
AND PLAN TO VOTE TO ACCEPT THE COMBINED DISCLOSURE STATEMENT
AND PLAN.




                                             2
RLF1 28213990v.1
               Case 22-10621-BLS              Doc 335      Filed 11/08/22        Page 13 of 84




                                         I.       INTRODUCTION

              Redwood Liquidating Co. (“the “Debtor”)2 hereby proposes the Debtor’s
Combined Disclosure Statement and Plan pursuant to sections 1125 and 1129 of the Bankruptcy
Code. The Debtor is the proponent of the Combined Disclosure Statement and Plan within the
meaning of section 1129 of the Bankruptcy Code.

               The Combined Disclosure Statement and Plan constitutes a liquidating chapter 11
plan for the Debtor. Except as otherwise provided by Order of the Bankruptcy Court, Distributions
will occur on the Effective Date or as soon thereafter as is practicable. The Debtor will be
dissolved under applicable law upon the closing of the Chapter 11 Case.

                Subject to the restrictions on modifications set forth in section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
Article XVIII.D of the Combined Disclosure Statement and Plan, the Debtor expressly reserves
the right to alter, amend or modify the Combined Disclosure Statement and Plan, one or more
times, before its substantial consummation.

                   II.      DEFINITIONS AND CONSTRUCTION OF TERMS

A.       Definitions

       As used herein, the following terms have the respective meanings specified below, unless
the context otherwise requires:

      1.      “503(b)(9) Claim” means any Claim against the Debtor under section 503(b)(9) of
the Bankruptcy Code for the value of goods sold to the Debtor in the ordinary course of business
and received by the Debtor within twenty (20) days before the Petition Date.

       2.     “Acquired Actions” means all avoidance and recovery actions or remedies sold to
Sequencing Health, pursuant to the Asset Purchase Agreement, that may have been able to be
brought on behalf of the Debtor or its Estate under the Bankruptcy Code or applicable non-
bankruptcy law, including actions or remedies under sections 544, 547, 548, 550, 551, 552, or 553
of the Bankruptcy Code.

       3.     “Administrative Expense Bar Date” means the date by which a request for
payment of an Administrative Expense Claim (other than a Professional Fee Claim or any
Statutory Fees) must be Filed and is thirty (30) days after the Effective Date; provided that
503(b)(9) Claims shall be subject to the General Bar Date.

       4.       “Administrative Expense Claim” means a Claim against the Debtor or its Estate
for costs or expenses of administration of the Estate pursuant to sections 364(c)(1), 503(b), 503(c),
507(b) or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and
expenses incurred after the Petition Date and through the Effective Date of preserving the Estate

2
 All capitalized terms not defined in this introduction shall have the same meanings set forth in Article II of the
Combined Disclosure Statement and Plan.


RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 14 of 84




and operating the business of the Debtor; (b) compensation for legal, financial advisory,
accounting and other services and reimbursement of expenses awarded or allowed under sections
330(a) or 331 of the Bankruptcy Code, including Professional Claims; (c) all fees and charges
assessed against the Estate under chapter 123 of title 28 of the United States Code, 28 U.S.C.
sections 1911-1930.

        5.      “Administrative Expense Claim Objection Deadline” means the date that is no
later than ninety (90) days after the later of the Effective Date and any filing of any Administrative
Expense Claim or of a motion for approval thereof, unless such objection deadline is extended by
order of the Bankruptcy Court upon the motion of the Plan Administrator.

      6.     “Advancement Action” means that certain action commenced in the Chancery
Court on March 29, 2022 and captioned Esfandyarpour v. GenapSys, Inc., C.A. No. 2022-0296-
VCZ.

        7.     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
With respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such Person as
if the Person were the Debtor.

        8.      “Allowed” means any Claim that is not a Disputed Claim or a Disallowed Claim;
provided, however, that a Disputed Claim shall become an Allowed Claim to the extent (i) no
objection to such Claim has been interposed by the Claims Objection Deadline or such other period
fixed by the Bankruptcy Court, (ii) an objection to such Claim has been interposed, but withdrawn
or overruled by a Final Order and the Debtor has no right to object to such Claim on other grounds,
or (iii) the Bankruptcy Court enters a Final Order providing that such Claim is an Allowed Claim.

       9.       “Amended Schedules Bar Date” means the date that is thirty (30) days after
service of a notice to an applicable Creditor of an amendment to, or the addition of, its Claim
reflected on the Schedules.

      10.     “Asset Purchase Agreement” means the Amended and Restated Asset Purchase
Agreement by and between the Debtor and Sequencing Health, Inc., dated as of August 23, 2022
(as amended from time to time).

        11.      “Assets” means all of the assets of the Debtor of any nature whatsoever, including,
without limitation, all property of the Estate pursuant to section 541 of the Bankruptcy Code, Cash
(including proceeds from the Sale), Causes of Action, accounts receivable, tax refunds, claims of
right, interests and property, real and personal, tangible and intangible, and the proceeds of all of
the foregoing. For the avoidance of doubt, the Assets shall include (i) any refunds or repayments
that the Post-Effective Date Debtor receives with respect to any letters of credit, (ii) any remaining
Cash from the Debtor’s utility deposit account, (iii) all Excluded Assets under the Asset Purchase
Agreement, and (iv) the Esfandyarpour Note. For the avoidance of doubt, Assets do not include
the Purchased Assets under the Asset Purchase Agreement.

      12.     “Assumed Oxford Indebtedness” has the meaning ascribed to such term in the
Asset Purchase Agreement.



                                                  2
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22    Page 15 of 84




       13.      “Ballot” means the applicable form or forms of ballot(s) distributed to each holder
of an impaired Claim entitled to vote on the Combined Disclosure Statement and Plan on which
the holder indicates either acceptance or rejection of the Combined Disclosure Statement and Plan.

      14.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. sections
101-1532, as amended from time to time.

       15.     “Bankruptcy Court” means the United States Bankruptcy Court for the District
of Delaware, having jurisdiction over the Chapter 11 Case, or if such court ceases to exercise
jurisdiction over the Chapter 11 Case, such court or adjunct thereof that exercises jurisdiction over
the Chapter 11 Case in lieu of the United States Bankruptcy Court for the District of Delaware.

      16.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and any
Local Rules of the Bankruptcy Court, as amended from time to time.

       17.      “Bar Date” or “Bar Dates” means the applicable bar date by which a proof of
Claim or request for payment of an Administrative Expense Claim must be, or must have been,
Filed, as established by an order of the Bankruptcy Court, including the Bar Date Order and the
Confirmation Order.

      18.     “Bar Date Order” means the Order Establishing Deadlines and Related
Procedures for Filing Proofs of Claim (Including for Administrative Expense Claims Arising
under Section 503(b)(9) of the Bankruptcy Code) and Approving the Form and Manner of Notice
Thereof [Docket No. 288], entered by the Bankruptcy Court on September 29, 2022.

     19.       “Bench Ruling” means the ruling of the Bankruptcy Court denying the Motion to
Dismiss, issued from the bench on August 16, 2022 [Docket No. 181].

        20.        “Bid Deadline” has the meaning ascribed to such term in the Bidding Procedures.

       21.     “Bidding Procedures Motion” means Motion of the Debtor for Entry of Orders
(I)(A) Approving Bidding Procedures for the Sale of Substantially All of the Debtor’s Assets, (B)
Authorizing the Debtor to Designate a Stalking Horse Bidder and to Provide Bidding Protections,
(C) Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and Approving the Form
and Manner of Notice Thereof and (F) Granting Related Relief; and (II)(A) Approving the Sale of
the Debtor’s Assets Free and Clear of Liens, Claims, Interests and Encumbrances, (B) Approving
the Assumption and Assignment of Executory Contracts and Unexpired Leases and (C) Granting
Related Relief [Docket No. 54], filed on July 14, 2022.

       22.      “Bidding Procedures Order” means the Order (I) Approving Bidding Procedures
for the Sale of Substantially all of the Debtor’s Assets, (II) Scheduling an Auction and Approving
the Form and Manner of Notice Thereof, (III) Approving Assumption and Assignment Procedures,
(IV) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof, and (V)
Granting Related Relief [Docket No. 175], entered by the Bankruptcy Court on August 17, 2022.

        23.        “Board” means the board of directors of the Debtor.


                                                   3
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 16 of 84




     24.           “Books and Records” has the meaning ascribed to such term in the Asset Purchase
Agreement.

      25.     “Business Day” means any day other than a Saturday, Sunday or any other day on
which commercial banks in New York, New York are required or authorized to close by law or
executive order.

        26.        “California Action” has the meaning set forth in Article III.A.6 hereof.

        27.        “Cash” means legal tender of the United States of America and equivalents thereof.

      28.    “Cash Purchase Price” has the meaning ascribed to such term in the Asset
Purchase Agreement.

       29.     “Causes of Action” means all Claims, and all other claims, actions, causes of
action, choses in action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, variances, trespasses,
damages, judgments, third-party claims, counterclaims, and crossclaims, whether arising under
the Bankruptcy Code or other federal or state law, or based in equity, including, but not limited to,
under the Bankruptcy Code, whether direct, indirect, derivative, or otherwise and whether asserted
or unasserted, and any and all commercial tort claims against any party. For the avoidance of
doubt, the term Causes of Action does not include the Acquired Actions, which were sold to
Sequencing Health under the Asset Purchase Agreement and waived in accordance with its terms.

        30.        “Chancery Court” means the Chancery Court for the State of Delaware.

       31.   “Chapter 11 Case” means the chapter 11 case commenced by the Debtor, styled
as In re Redwood Liquidating Co., under Case No. 22-10621 (BLS), currently pending in the
Bankruptcy Court.

        32.        “Claim” shall have the meaning set forth in section 101(5) of the Bankruptcy Code.

      33.          “Claims and Noticing Agent” means Kroll Restructuring Administration LLC or
“Kroll”.

      34.      “Claims Objection Deadline” means, subject to any extension as set forth in
Section XI.C of the Combined Disclosure Statement and Plan, the date that is the first Business
Day that is at least one hundred eighty (180) days after the Effective Date; provided that for
Administrative Expense Claims, such deadline shall be the Administrative Expense Claim
Objection Deadline. For the avoidance of doubt, the Claims Objection Deadline may be extended
one or more times by the Bankruptcy Court upon a motion filed by the Plan Administrator.

       35.     “Class” means any group of substantially similar Claims or Equity Interests
classified by the Combined Disclosure Statement and Plan pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code.

        36.        “Clerk” means the clerk of the Bankruptcy Court.


                                                    4
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 17 of 84




       37.      “Combined Disclosure Statement and Plan” means this combined disclosure
statement and chapter 11 plan of liquidation including, without limitation, the Plan Supplement,
all exhibits, supplements, appendices and schedules hereto, either in their present form or as the
same may be altered, amended or modified from time to time in accordance with the terms hereof.

        38.        “Common Equity Interests” means the common equity interests of the Debtor.

       39.      “Common Equity 510(b) Claims” means any Claim, whether or not the subject of
an existing lawsuit, (a) arising from rescission of a purchase or sale of any debt or equity securities
of the Debtor issued as Common Equity Interests existing immediately prior to the Effective Date;
(b) for damages arising from the purchase or sale of any such security; (c) for violations of the
securities laws, misrepresentations, or any similar Claims, including, to the extent related to the
foregoing or otherwise subject to subordination under section 510(b) of the Bankruptcy Code, any
attorneys’ fees, other charges, or costs incurred on account of the foregoing Claims; or (d)
for reimbursement, contribution, or indemnification on account of any such Claim.

       40.     “Conditional Approval and Procedures Order” has the meaning set forth in
Article XII.A.1 herein.

       41.     “Confirmation Date” means the date on which the Confirmation Order is entered
on the Docket.

      42.       “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
consider (i) final approval of the Combined Disclosure Statement and Plan as providing adequate
information pursuant to section 1125 of the Bankruptcy Code and (ii) confirmation of the
Combined Disclosure Statement and Plan pursuant to section 1129 of the Bankruptcy Code, as
such hearing may be adjourned or continued from time to time.

        43.        “Confirmation Notice” has the meaning set forth in Article XII.A.4 herein.

     44.    “Confirmation Order” means the Order of the Bankruptcy Court confirming the
Combined Disclosure Statement and Plan pursuant to section 1129 of the Bankruptcy Code.

        45.        “Creditor” means any Person that is the Holder of a Claim against the Debtor.

        46.        “Debtor” means Redwood Liquidating Co. (f/k/a GenapSys, Inc.).

      47.     “DIP Credit Agreement” means that Secured Debtor-in-Possession Term Loan
and Security Agreement, dated as of July 28, 2022, by and between the Debtor and Oxford, as the
same may have been further amended, restated or otherwise modified from time to time in
accordance with the terms thereof.

       48.     “DIP Credit Agreement Claims” means those Claims (other than any contingent
indemnification Claims arising under the DIP Credit Agreement) arising under or related to the
DIP Credit Agreement and which were satisfied in full at the closing of the Sale pursuant to terms
of the Sale Order and in accordance with the Asset Purchase Agreement.



                                                   5
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335       Filed 11/08/22    Page 18 of 84




       49.       “DIP Documents” means the DIP Credit Agreement, the other “DIP Loan
Documents” as described in the DIP Credit Agreement and any other agreements and documents
related thereto.

      50.      “DIP Facility” means the financing facility provided to the Debtor pursuant to the
terms of the DIP Credit Agreement and the DIP Financing Order.

       51.     “DIP Financing Order” means the Final Order (I) Authorizing the Debtor to (A)
Use Cash Collateral and (B) Grant Adequate Protection; (II) Authorizing Debtor to (A) Obtain
Postpetition Financing and (B) Grant Liens and Superpriority Administrative Expense Claims,
(III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 173], entered
by the Bankruptcy Court on August 17, 2022.

     52.      “DIP Lender” means Oxford in its capacity as DIP Administrative Agent and DIP
Lender under the DIP Credit Agreement.

      53.      “DIP Motion” means the Debtor’s Motion for Entry of Interim and Final Orders
(I) Authorizing Debtor to (A) Use Cash Collateral and (B) Grant Adequate Protection; (II)
Authorizing Debtor to (A) Obtain Postpetition Financing and (B) Grant Liens and Superpriority
Administrative Expense Claims; (III) Modifying Automatic Stay; (IV) Setting a Final Hearing; and
(V) Granting Related Relief [Docket No. 10], filed on July 12, 2022.

       54.     “Disallowed” means any Claim or any portion thereof that (i) has been disallowed
by a Final Order, (ii) is Scheduled as zero or as contingent, disputed or unliquidated and as to
which no proof of claim has been Filed or deemed Filed with the Bankruptcy Court pursuant to
either the Bankruptcy Code or any Final Order or otherwise deemed Filed under applicable law or
the Combined Disclosure Statement and Plan, (iii) is not Scheduled and as to which no proof of
claim has been deemed Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code
or any Order or otherwise deemed Filed under applicable law or the Combined Disclosure
Statement and Plan, (iv) has been withdrawn by agreement of the Debtor and the Holder thereof
or (v) has been withdrawn by the Holder thereof.

       55.      “Disputed” means any Claim or any portion thereof that (i) has not been Scheduled
by the Debtor or has been Scheduled as unknown, contingent, unliquidated, disputed or at zero,
whether or not such Claim is the subject of a proof of Claim, (ii) is the subject of a proof of Claim
that differs in nature, amount or priority from the Schedules (except to the extent that the Plan
Administrator elects, in its discretion, to treat the Claim asserted in such proof of Claim as an
Allowed Claim) or (iii) is the subject of an objection interposed by the Claims Objection Deadline
or such other time period fixed by the Bankruptcy Court, which has not been withdrawn or
overruled by a Final Order; provided, however, that a Claim shall not be a Disputed Claim to the
extent it becomes an Allowed Claim or Disallowed Claim.

      56.      “Distribution” means any distribution to the Holders of Allowed Claims or, if
applicable, Allowed Equity Interests.

      57.     “Distribution Date” means any date on which a Distributions is made to Holders
of Allowed Claims or, if applicable, Allowed Equity Interests, under this Combined Disclosure
Statement and Plan, or as otherwise agreed. The first Distributions shall occur on or as soon as

                                                 6
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 19 of 84




practicable after the Effective Date or as otherwise determined by the Plan Administrator. To the
extent subsequent Distributions are necessary, such subsequent Distributions shall occur as soon
after the first Distribution Date as the Plan Administrator shall determine in accordance with the
Plan Administrator Agreement.

        58.        “Docket” means the docket in the Chapter 11 Case maintained by the Clerk.

      59.      “D&O Insurance Policies” means any insurance policy providing insurance
and/or similar coverage to a current of former officer, director or employee of the Debtor.

     60.    “Effective Date” means the date established pursuant to Article XIII.B of the
Combined Disclosure Statement and Plan.

        61.        “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       62.       “Equity Interest” means any common stock, limited liability company interest,
equity security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
interests, unit, or share in any Debtor (including all issued, unissued, authorized, or outstanding
shares of capital stock of the Debtor and any other rights, options, warrants, stock appreciation
rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable, or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor), whether or not arising under or in connection with any
employment agreement and whether or not certificated, transferable, preferred, common, voting,
or denominated “stock” or a similar security, including the Common Equity Interests, Series A
Preferred Equity Interests, Series B Preferred Equity Interests, Series C Preferred Equity Interests,
and Series D Preferred Equity Interests.

        63.        “Esfandyarpour Note” has the meaning set forth in Article III.B.1 hereof.

      64.     “Estate” means the estate of the Debtor created upon the commencement of the
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

     65.           “Excluded Assets” has the meaning ascribed to such term in the Asset Purchase
Agreement.

      66.     “Excluded Parties” means each of Hesaam Esfandyarpour, Kosar Parizi, Hamid
Rategh and any trust, trustee, family member, or close affiliation of each person, and Foresite.

       67.       “Exculpated Parties” means the following Entities, each in their respective
capacities as such, (a) the Debtor; (b) the Debtor’s officers and directors as of the Petition Date,
(c) Peter Swider; (d) the members of the Special Committee: Mr. Robert Zollars, Mr. Fredrik
Eliasson, and Ms. Loretta Cecil, and (e) the Related Parties of the Debtor to the extent such Person
or Entity is a fiduciary of the Debtor; provided, however, that Exculpated Parties shall not include
any Excluded Parties.

       68.     “Executory Contract” means any executory contract or unexpired lease as of the
Petition Date between the Debtor and any other Person or Entity.

                                                   7
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 20 of 84




      69.    “Farallon” means Farallon Capital Management, L.L.C. and certain of its affiliates
and/or managed funds.

       70.     “File”, “Filed”, or “Filing” means file, filed, or filing with the Bankruptcy Court
in the Chapter 11 Case.

       71.     “Final Order” means an Order of the Bankruptcy Court or a court of competent
jurisdiction to hear appeals from the Bankruptcy Court, that has not been reversed, stayed,
modified or amended and as to which the time to appeal, to petition for certiorari, or to move for
reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for reargument or rehearing shall then be pending.

     72.     “First Day Declaration” means the Declaration of Britton Russell in Support of
Debtor’s Chapter 11 Petition and First Day Motions [Docket No. 11].

        73.        “First Rejection Motion” has the meaning set forth in Article III.C.9 hereof.

     74.     “First SQ Relief Order” means that certain order entered by the Chancery Court
on May 23, 2022 in the Section 225 Action.

      75.      “Forbearance Agreement” means that certain Forbearance Agreement, dated
June 1, 2022, entered into by and between the Debtor and Oxford.

     76.    “Foresite” means each of Foresite Capital Fund IV, L.P., Foresite Capital
Management IV, LLC and its Related Parties.

      77.     “General Bar Date” means November 3, 2022 at 5:00 p.m. (prevailing Eastern
Time), pursuant to the Order Establishing Deadlines and Related Procedures for Filing Proofs of
Claim (Including for Administrative Expense Claims Arising under Section 503(b)(9) of the
Bankruptcy Code) and Approving the Form and Manner of Notice Thereof [Docket No. 288].

      78.       “General Unsecured Claim” means any Claim against the Debtor that (a) is
unpaid as of the Effective Date, and (b) arose or is deemed by the Bankruptcy Code or Bankruptcy
Court, as the case may be, to have arisen before the Petition Date and that is not an Administrative
Expense Claim, Priority Tax Claim, Secured Claim, or Priority Non-Tax Claim.

       79.     “Governmental Bar Date” means January 9, 2023 at 5:00 p.m. (prevailing Eastern
Time), which is the deadline for Governmental Units to file proofs of claim on account of pre-
petition Claims against the Debtor.

     80.     “Governmental Unit” shall have the meaning set forth in section 101(27) of the
Bankruptcy Code.

        81.        “Holder” means the beneficial holder of any Claim or Equity Interest.

       82.      “Impaired” means, with respect to a Class of Claims or Equity Interests, a Claim
or an Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.



                                                    8
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22    Page 21 of 84




        83.     “Indemnification Obligations” mean any obligation of the Debtor for
indemnification, defense, reimbursement, or limitation of liability of current or former directors,
officers, or employees of the Debtor against any claims, costs, liabilities or causes of action as
provided in the Debtor’s articles of organization, certificates of incorporation (or amended
certificate of incorporation), bylaws (or amended bylaws), other organizational documents,
contract, or applicable law, owed in connection with one or more events or omissions occurring
before the Petition Date.

        84.        “Indemnification Reserve” has the meaning set forth in Article XI.E hereof.

       85.       “Insurance Policies” means any and all insurance policies, insurance settlement
agreements, coverage-in-place agreements, and other agreements, documents, or instruments
relating to the provisions of insurance entered into by or issued to or for the benefit of, at any time,
the Debtor or its predecessors.

       86.      “Insurer” means any company or other entity that issued an Insurance Policy, any
third-party administrator of or for any Insurance Policy, and any respective predecessors and/or
Affiliates of any of the foregoing.

       87.   “Interim Compensation Order” means the Order Establishing Procedures for
Interim Compensation and Reimbursement of Professionals [Docket No. 168], entered by the
Bankruptcy Court on August 17, 2022.

      88.      “KEIP” means the Debtor’s key employee incentive program, as more fully
discussed in the KEIP/KERP Motion.

     89.    “KEIP/KERP Motion” means the Motion of the Debtor for Entry of an Order
Approving Debtor’s (I) Key Employee Incentive Program and (II) Key Employee Retention
Program [Docket No. 72], filed on July 25, 2022.

      90.     “KEIP/KERP Order” means the Order Approving the Debtor’s (A) Key Employee
Incentive Program, (B) Key Employee Retention Program and (C) Granting Related Relief
[Docket No. 174], entered by the Bankruptcy Court on August 17, 2022.

      91.      “KERP” means the Debtor’s key employee retention program, as more fully
discussed in the KEIP/KERP Motion.

     92.           “KERP Employees” has the meaning ascribed to such term in the KEIP/KERP
Motion

        93.        “Lazard” means Lazard Frères & Co. LLC.

       94.      “Liabilities” means any and all Claims, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, and liabilities, whether liquidated or unliquidated, fixed
or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, arising in law,
equity or otherwise, that are based in whole or in part on any act, event, injury, omission,
transaction or agreement.


                                                   9
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 22 of 84




        95.        “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       96.      “Liquidation Analysis” means the hypothetical chapter 7 liquidation analysis
attached to this Combined Disclosure Statement and Plan as Exhibit A.

        97.        “Love Health” means Love Health Inc.

       98.         “March 2022 Farallon Term Sheet” has the meaning set forth in Article III.B.1
herein.

      99.      “May 2022 Farallon Term Sheet” means Farallon’s initial term sheet setting forth
a proposal for an in-court restructuring process.

      100.    “Motion to Dismiss” means the Motion of Dr. Hesaam Esfandyarpour, Ph.D. and
Dr. Kosar Parizi, Ph.D. to (I) Dismiss the Chapter 11 Case or (II) in the Alternative, Appoint a
Chapter 11 Trustee [Docket No. 73].

        101.       “MTD Movants” means Dr. Hesaam Esfandyarpour, Ph.D. and Dr. Kosar Parizi,
Ph.D.

        102.       “NDA” has the meaning set forth in Article III.B.2 herein.

       103.    “Net Distributable Assets” means (a) the gross amount available from the
liquidation of the Assets, including the proceeds from the Sale minus (b) the amount of (i)
Statutory Fees, (ii) Allowed Professional Claims, (iii) Allowed Administrative Expense Claims,
(iv) Allowed Priority Tax Claims, and (v) Plan Administrator Expenses.

     104.          “Order” means an order or judgment of the Bankruptcy Court as entered on the
Docket.

        105.       “Oxford” means Oxford Finance LLC

       106.    “Oxford Loan Modification Agreement” has the meaning ascribed to such term
in the Asset Purchase Agreement.

        107.       “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy
Code.

        108.       “Petition Date” means July 11, 2022.

        109. “Plan Administrator” means a Person selected by the Debtor to effectuate the
provisions of the Combined Disclosure Statement and Plan after the Effective Date. The identity,
role, and compensation of the Plan Administrator will be disclosed in the Plan Supplement.

       110.     “Plan Administrator Agreement” means the agreement between the Debtor and
the Plan Administrator, as the same may be amended from time to time in accordance with its
terms, filed as part of the Plan Supplement and approved pursuant to the Confirmation Order.



                                                   10
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 23 of 84




      111.    “Plan Administrator Expenses” means the reasonable fees and expenses of the
Plan Administrator incurred in the performance of its duties under this Combined Disclosure
Statement and Plan, including the reasonable fees and expenses of any professionals retained by
the Plan Administrator to assist the Plan Administrator in performing its duties under this
Combined Disclosure Statement and Plan, to be paid and reimbursed in accordance with the Plan
Administrator Agreement.

       112.    “Plan Documents” means any of the documents, other than this Combined
Disclosure Statement and Plan and including the Plan Administrator Agreement, to be executed,
delivered, assumed, or performed in connection with the occurrence of the Effective Date,
including the documents to be included in the Plan Supplement, all of which shall be in form and
substance as provided herein and reasonably acceptable to the Debtor.

       113.    “Plan Supplement” means the documents, schedules, and any exhibits filed prior
to the Confirmation Hearing, as amended, supplemented or modified from time to time, including
the form of the Plan Administrator Agreement.

        114.       “Post-Effective Date Debtor” means the Debtor, from and after the Effective
Date.

     115.     “Post-Petition Sale Process” means the post-petition marketing and sales process
conducted in connection with the Bidding Procedures and Bidding Procedures Order.

       116.     “Preferred Equity Interests” means, collectively, the Series A Preferred Equity
Interests, Series B Preferred Equity Interests, Series C Preferred Equity Interests, and Series D
Preferred Equity Interests.

     117.          “Prepetition Lenders” means the lenders under the Prepetition Loan and Security
Agreement.

      118.    “Prepetition Loan and Security Agreement” means that certain Loan and
Security Agreement, dated as of December 20, 2019 (as amended, restated, amended and restated,
supplemented, waived, or otherwise modified from time to time, among the Debtor and Oxford).

      119.  “Prepetition Marketing Process” means that certain sales and marketing process
commenced by Lazard prior to, and transitioning to the Post-Petition Sale Process on, the Petition
Date.

        120.       “Prepetition Secured Parties” means Oxford and the Prepetition Lenders.

       121.     “Prepetition Secured Parties’ Claims” means the Claims (other than any
contingent indemnification Claims arising under the Prepetition Loan and Security Agreement) of
the Prepetition Secured Parties arising under the Prepetition Loan and Security Agreement.

     122.     “Priority Non-Tax Claim” means a Claim that is accorded priority in right of
payment under section 507 of the Bankruptcy Code, other than a Priority Tax Claim or an
Administrative Expense Claim.


                                                  11
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335      Filed 11/08/22   Page 24 of 84




      123.     “Priority Tax Claim” means a Claim that is entitled to priority under section
507(a)(8) of the Bankruptcy Code.

       124.     “Professional” means any professional person employed in the Chapter 11 Case
pursuant to section 327, 328 or 1103 of the Bankruptcy Code pursuant to an Order of the
Bankruptcy Court and to be compensated for services rendered pursuant to sections 327, 328, 329,
330, or 331 of the Bankruptcy Code. The term “Professional” does not include any ordinary course
professionals that were retained and compensated pursuant to the Order Authorizing the Debtor to
Employ and Compensate Professionals Utilized in the Ordinary Course of Business Effective as
of the Petition Date [Docket No. 167], entered by the Bankruptcy Court on August 17, 2022.

      125.    “Professional Claims Objection Deadline” has the meaning set forth in Article
V.F.4 hereof.

       126.   “Professional Claims” means all Claims under sections 330, 331, 503, or 1103 of
the Bankruptcy Code for compensation and reimbursement of expenses by Professionals to the
extent Allowed by the Bankruptcy Court.

      127.    “Professional Fee Escrow Amount” means the reasonable estimate of the
aggregate amount of Allowed Professional Claims relating to the period prior to the Effective Date,
which estimates Professionals shall deliver to the Debtor as set forth in Article V.F.3 herein, and
which amount shall be paid from the Net Distributable Assets and, if necessary, any other available
Cash.

       128.    “Professional Fee Reserve” means an account funded by the Debtor with Cash as
soon as possible after Confirmation and not later than the Effective Date in an amount equal to the
Professional Fee Escrow Amount, plus any amounts remaining in the Professionals Fees Account
established under the Final DIP Order. For the avoidance of doubt, (i) to the extent that the
Professional Fee Reserve is not sufficient to satisfy in full all Allowed Professional Claims, such
Allowed Claims shall nevertheless be paid in full in Cash from other available Cash prior to
making any Distributions to the Holders of Allowed Claims or, if applicable, Allowed Equity
Interests, and (ii) any fees and expenses by Professionals in connection with preparing fee
applications shall be paid from the Professional Fee Reserve or, if exhausted, from other available
Cash prior to making any Distributions to the Holders of Allowed Claims or, if applicable, Allowed
Equity Interests, and (iii) the Professionals Fees Account established under the Final DIP Order
may serve as the account utilized for the Professional Fee Reserve.

     129.          “Professional Fees Account” has the meaning ascribed to such term in the Final
DIP Order.

      130.     “Pro Rata” means, when used with reference to a distribution of property to
Holders of Allowed Claims or, if applicable, Allowed Equity Interests, in a particular Class or any
other specified group of Claims or Equity Interests pursuant to this Combined Disclosure
Statement and Plan, proportionately, so that with respect to a particular Allowed Claim or Allowed
Equity Interest in such Class or in such group, the ratio of the amount of property to be distributed
on account of such Claim or, if applicable, Equity Interest, to the amount of such Claim or, if
applicable, Equity Interest, is the same as the ratio of the amount of property to be distributed on


                                                 12
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22    Page 25 of 84




account of all Allowed Claims or, if applicable, Allowed Equity Interests, in such Class or group
of Claims or Equity Interests to the amount of all Allowed Claims or Allowed Equity Interests in
such Class or group of Claims or Equity Interests. Until all Disputed Claims and Equity Interests
in a Class are resolved, Disputed Claims or Equity Interests shall be treated as Allowed Claims
and Equity Interests in their face amount for purposes of calculating Pro Rata distribution of
property to Holders of Allowed Claims or, if applicable, Allowed Equity Interests, in such Class.

     131.          “Purchase Price” has the meaning ascribed to such term in the Asset Purchase
Agreement.

     132.          “Purchased Assets” has the meaning ascribed to such term in the Asset Purchase
Agreement.

        133.       “Qualified Bid” has the meaning ascribed to such term in the Bidding Procedures.

      134.         “Redwood” means Redwood Liquidating Co. (f/k/a GenapSys, Inc.), a Delaware
corporation.

       135.      “Rejection Bar Date” means the deadline to file a proof of claim for damages
relating to the rejection of an Executory Contract (including any unexpired lease), which, pursuant
to the Bar Date Order, is the later of (i) the General Bar Date or the Governmental Bar Date, as
applicable, and (ii) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days
following service of an order approving rejection of any executory contract or unexpired lease of
the Debtor.

       136.     “Related Parties” means, with respect to any Person or Entity, such Person’s or
Entity’s current and former direct or indirect subsidiaries and affiliates and each of their respective
current and former stockholders, members, limited partners, general partners, managed funds,
equity holders, directors, managers, officers, employees, agents, consultants, trusts, trustees,
designees, attorneys, financial advisors, investment bankers, accountants, and other professionals
or representatives; provided, however, that Related Parties shall not include any Excluded Parties.

       137.     “Released Parties” means the following Entities, each in their capacity as such,
(a) the Debtor; (b) the Debtor’s officers and directors as of the Petition Date, (c) Peter Swider, (d)
Oxford; (e) the members of the Special Committee: Mr. Robert Zollars, Mr. Fredrik Eliasson, and
Ms. Loretta Cecil and (f) the Related Parties of the foregoing; provided, however, that Released
Parties shall not include any Excluded Parties.

       138.      “Releasing Parties” means the following Entities, each in their respective
capacities as such, (a) the Debtor; (b) Oxford; (c) each Holder of a Claim that (x) votes to accept
the Combined Disclosure Statement and Plan or (y) either (I) abstains from voting or (II) votes to
reject the Combined Disclosure Statement and Plan and, in the case of either (I) or (II), does not
opt out of the voluntary release contained in Article XIV.C hereof by checking the opt out box on
the ballot, and returning it in accordance with the instructions set forth thereon, indicating that they
opt not to grant the releases provided in the Combined Disclosure Statement and Plan; (d) each
Holder of a Claim that is deemed to accept the Combined Disclosure Statement and Plan or
otherwise unimpaired under the Combined Disclosure Statement and Plan; and (e) the Related
Parties of the foregoing but only to the extent such Related Party would be obligated to release

                                                  13
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 26 of 84




under principles of agency if it were so directed by the applicable Person or Entity in clauses (a)
through (e). For the avoidance of doubt, nothing contained in this definition shall result in the
Released Parties releasing any Claims or Causes of Action against any Excluded Parties.

      139.    “Sale” means the sale of substantially all of the Debtor’s assets pursuant to the
Asset Purchase Agreement.

      140.    “Sale Hearing” means the hearing held by the Bankruptcy Court of September 8,
2022, to consider approval of the Sale to Sequencing Health pursuant to the Asset Purchase
Agreement.

      141.     “Sale Motion” means the Motion of the Debtor for Entry of Orders (I)(A)
Approving Bidding Procedures for the Sale of Substantially All of the Debtor’s Assets, (B)
Authorizing the Debtor to Designate a Stalking Horse Bidder and to Provide Bidding Protections,
(C) Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and Approving the Form
and Manner of Notice Thereof and (F) Granting Related Relief; and (II)(A) Approving the Sale of
the Debtor’s Assets Free and Clear of Liens, Claims, Interests and Encumbrances, (B) Approving
the Assumption and Assignment of Executory Contracts and Unexpired Leases and (C) Granting
Related Relief [Docket No. 54], filed on July 14, 2022.

      142.     “Sale Order” mean the Order (I) Approving the Asset Purchase Agreement
Between Seller and Buyer, (II) Authorizing the Sale of the Debtor’s Assets Free and Clear of Liens,
Claims, Interests and Encumbrances, (III) Authorizing the Assumption and Assignment of Certain
Executory Contracts, and Leases in Connection Therewith and (IV) Granting Related Relief
[Docket No. 243], entered by the Bankruptcy Court on September 12, 2022.

        143.     “Schedules” means the sealed and redacted forms of the schedules of assets and
liabilities and the statement of financial affairs Filed by the Debtor on August 31, 2022, and any
and all amendments and modifications thereto [Docket Nos. 217-220].

        144.       “Second Rejection Motion” has the meaning set forth in Article III.C.9 hereof.

      145.    “Second SQ Relief Order” means that certain order entered by the Chancery Court
on June 10, 2022 in the Section 225 Action.

     146.      “Section 225 Action” means that certain action commended in the Chancery Court
on April 12, 2022 and captioned Esfandyarpour v. Zollars, Myers, Eliasson, McKenzie, Cecil, &
GenapSys, Inc., C.A. No. 2022-0324-MTZ.

       147.     “Secured Claim” means a Claim that is secured by a Lien on property in which
the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
law or by reason of a Final Order of the Bankruptcy Court, or that is subject to a valid right of
setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the Holder of
such Claim’s interest in the Estate’s interest in such property or to the extent of the amount subject
to setoff, as applicable, as determined pursuant to section 506(a) or as Allowed pursuant to the
Combined Disclosure Statement and Plan as a Secured Claim.


                                                  14
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 27 of 84




        148.       “Sequencing Health” means Sequencing Health, Inc.

       149.    “Series A Preferred Equity Interests” means those preferred equity interests
issued as Series A with liquidation preferences over Common Equity Interests.

       150.     “Series A 510(b) Claims” means any Claim, whether or not the subject of an
existing lawsuit, (a) arising from rescission of a purchase or sale of any debt or equity securities
of the Debtor issued as Series A Preferred Equity Interests existing immediately prior to the
Effective Date; (b) for damages arising from the purchase or sale of any such security; (c) for
violations of the securities laws, misrepresentations, or any similar Claims, including, to the extent
related to the foregoing or otherwise subject to subordination under section 510(b) of the
Bankruptcy Code, any attorneys’ fees, other charges, or costs incurred on account of the foregoing
Claims; or (d) for reimbursement, contribution, or indemnification on account of any such Claim.

      151.    “Series B Preferred Equity Interests” means those preferred equity interests
issued as Series B with liquidation preferences over Series A Preferred Equity Interests and
Common Equity Interests.

       152.     “Series B 510(b) Claims” means any Claim, whether or not the subject of an
existing lawsuit: (a) arising from rescission of a purchase or sale of any debt or equity securities
of the Debtor issued as Series B Preferred Equity Interests existing immediately prior to the
Effective Date; (b) for damages arising from the purchase or sale of any such security; (c) for
violations of the securities laws, misrepresentations, or any similar Claims, including, to the extent
related to the foregoing or otherwise subject to subordination under section 510(b) of the
Bankruptcy Code, any attorneys’ fees, other charges, or costs incurred on account of the foregoing
Claims; or (d) for reimbursement, contribution, or indemnification on account of any such Claim.

       153.    “Series C Preferred Equity Interests” means those preferred equity interests
issued as Series C with liquidation preferences over Series B Preferred Equity Interests, Series A
Preferred Equity Interests and Common Equity Interests.

       154.     “Series C 510(b) Claims” means any Claim, whether or not the subject of an
existing lawsuit: (a) arising from rescission of a purchase or sale of any debt or equity securities
of the Debtor issued as Series C Preferred Equity Interests existing immediately prior to the
Effective Date; (b) for damages arising from the purchase or sale of any such security; (c) for
violations of the securities laws, misrepresentations, or any similar Claims, including, to the extent
related to the foregoing or otherwise subject to subordination under section 510(b) of the
Bankruptcy Code, any attorneys’ fees, other charges, or costs incurred on account of the foregoing
Claims; or (d) for reimbursement, contribution, or indemnification on account of any such Claim.

       155.    “Series D Preferred Equity Interests” means those preferred equity interests
issued as Series D with liquidation preferences over Series C Preferred Equity Interests, Series B
Preferred Equity Interests, Series A Preferred Equity Interests and Common Equity Interests.

       156.    “Series D 510(b) Claims” means any Claim, whether or not the subject of an
existing lawsuit: (a) arising from rescission of a purchase or sale of any debt or equity securities
of the Debtor issued as Series A Preferred Equity Interests existing immediately prior to the
Effective Date; (b) for damages arising from the purchase or sale of any such security; (c) for

                                                 15
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 28 of 84




violations of the securities laws, misrepresentations, or any similar Claims, including, to the extent
related to the foregoing or otherwise subject to subordination under section 510(b) of the
Bankruptcy Code, any attorneys’ fees, other charges, or costs incurred on account of the foregoing
Claims; or (d) for reimbursement, contribution, or indemnification on account of any such Claim.

       157.    “Solicitation Procedures Motion” means the Motion of the Debtor for Entry of an
Order (A) Conditionally Approving the Combined Disclosure Statement and Plan for Solicitation
Purposes Only, (B) Establishing Procedures for Solicitation and Tabulation of Votes to Accept or
Reject the Combined Disclosure Statement and Plan, (C) Approving the Form of Ballot and
Solicitation Materials, (D) Establishing Voting Record Date, (E) Fixing the Date, Time and Place
for the Confirmation Hearing and the Deadline for Filing Objections Thereto, and (F) Approving
Related Notice Procedures [Docket No. XXX] filed by the Debtor on November 8, 2022.

        158.       “Special Committee” means the Special Committee of the Board.

      159.     “Stalking Horse Order” means the Order (I) Authorizing and Approving Entry
into Amended and Restated Stalking Horse Agreement and Related Expense Reimbursement in
Connection with the Sale of All or Substantially All of the Debtor’s Assets, and (II) Granting
Related Relief [Docket No. 198], entered by the Bankruptcy Court on August 24, 2022.

        160.       “Stalking Horse Bid” means the bid of the Stalking Horse Bidder.

        161.       “Stalking Horse Bidder” means Sequencing Health.

       162.     “Stalking Horse Motion” means the Debtor’s Emergency Motion of the Debtor
for Entry of an Order (I) Authorizing and Approving Entry into Stalking Horse Agreement and
Related Bid Protections in Connection With the Sale of All or Substantially all of the Debtor’s
Assets, and (II) Granting Related Relief [Docket No. 149].

     163.     “Status Quo Order” means that certain order entered by the Chancery Court on
May 18, 2022 in the Section 225 Action.

       164.    “Statutory Fees” means any fees due and payable pursuant to section 1930 of title
28 of the United States Code.

      165.         “Successful Bidder” has the meaning ascribed to such term in the Bidding
Procedures.

      166.    “Third SQ Relief Order” means that certain order entered by the Chancery Court
on June 17, 2022 in the Section 225 Action.

     167.          “Trial” means the trial held by the Chancery Court on July 6, 2022 in the Section
225 Action.

        168.       “TSA” has the meaning set forth in Article III.C.6 hereof

       169.     “United States Trustee” means the Office of the United States Trustee for the
District of Delaware.

                                                   16
RLF1 28213990v.1
                Case 22-10621-BLS              Doc 335         Filed 11/08/22       Page 29 of 84




       170.   “Unclaimed Distribution” means a Distribution that is not claimed by a Holder of
an Allowed Claim or, if applicable, Allowed Equity Interest, on or prior to the Unclaimed
Distribution Deadline.

      171.    “Unclaimed Distribution Deadline” means ninety (90) days from the date the
Plan Administrator makes a Distribution of Cash or other property under the Combined Disclosure
Statement and Plan to a Holder of an Allowed Claim or, if applicable, Allowed Equity Interest.

B.       Interpretation; Application of Definitions and Rules of Construction

        Wherever from the context it appears appropriate, each term stated in either the singular or
the plural shall include both the singular and the plural and pronouns stated in the masculine,
feminine or neuter gender shall include the masculine, feminine and neuter. Unless otherwise
specified, all section, article, schedule or exhibit references in the Combined Disclosure Statement
and Plan are to the respective section in, Article of, Schedule to, or Exhibit to the Combined
Disclosure Statement and Plan. The words “herein,” “hereof,” “hereto,” “hereunder” and other
words of similar import refer to the Combined Disclosure Statement and Plan as a whole and not
to any particular section, subsection or clause contained in the Combined Disclosure Statement
and Plan. The rules of construction contained in section 102 of the Bankruptcy Code shall apply
to the construction of the Combined Disclosure Statement and Plan. A term used herein that is not
defined herein, but that is used in the Bankruptcy Code, shall have the meaning ascribed to that
term in the Bankruptcy Code. The headings in the Combined Disclosure Statement and Plan are
for convenience of reference only and shall not limit or otherwise affect the provisions of the
Combined Disclosure Statement and Plan.

                                           III.      BACKGROUND

       On the Petition Date, the Debtor filed a voluntary petition for relief pursuant to Chapter 11
of the Bankruptcy Code and, since that date, has operated as debtor-in-possession pursuant to
sections 1107 and 1108 of the Bankruptcy Code.

A.       General Background3

         1.        The Debtor’s Business as of the Petition Date

       The Debtor, founded in 2010 by Dr. Esfandyarpour,4 is a privately held Delaware
corporation formerly headquartered in Redwood City, California. The Debtor’s business involved
a novel method for DNA sequencing. Instead of optical-based technologies more traditionally
used in the industry, the Debtor’s semiconductor-based technology centered around measuring

3
     Further information regarding the Debtor’s business, assets, capital structure, and the circumstances leading to
     the filing of the Chapter 11 Case is set forth in detail in the First Day Declaration, which is incorporated by
     reference herein. Copies of the First Day Declaration and all other filings in the Chapter 11 Case can be obtained
     (and viewed) free of charge at the following web address: https://cases.ra.kroll.com/genapsys.
4
     Dr. Esfandyarpour is a Silicon Valley-based electrical engineer. After finishing his Ph.D. and post-doctorate
     work at Stanford University, Dr. Esfandyarpour and his team developed several novel technologies for DNA
     sequencing and protein detection at the Stanford Genome Technology Center. These technologies would
     eventually form the basis for the Debtor’s system.


                                                          17
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 30 of 84




minute changes in electrical signal upon the incorporation of a DNA base, which allows for a
simpler, more scalable, and lower cost solution to the challenges of DNA sequencing. Prior to
resigning as of February 16, 2021, Dr. Esfandyarpour was the Debtor’s chief executive officer.
Dr. Esfandyarpour continues to serve on the Board.

        Prior to the Sale, the Debtor was developing an electronic-based sequencing solution to
enable scalability and reduce the cost of ownership in both centralized and decentralized settings.
The Debtor’s planned solutions included a benchtop sequencer as well as a sequencing module
that could be integrated with automated liquid handlers, each option designed to scale throughput
by utilizing a range of semiconductor sensor densities. The Debtor was also developing an end-
to-end ecosystem that would enable customers to own and analyze their data to allow for lab
customization. The Debtor also maintained an intellectual property portfolio that included dozens
of different patents associated with its technology.

         2.        The Board of Directors, the Special Committee and Debtor’s Employees

               As discussed herein, as of the Petition Date, the Debtor’s Board was comprised of
the following Persons: Messers Hamid Moghadam, Robert Zollars, and Fredrik Eliasson, Ms.
Loretta Cecil, Dr. Harish Soundararajan, Dr. Jason Myers and Dr. Hesaam Esfandyarpour.

               On July 18, 2022, the Board formed the Special Committee, which is comprised of
the following independent directors of the Board: Mr. Zollars, Mr. Eliasson and Ms. Cecil. The
Special Committee has been delegated authority to review and evaluate all actions taken and to be
taken, arising out of, or related to, the Chapter 11 Case, and to make all decisions and take all
actions necessary in furtherance of the foregoing.

                Prior to the Petition Date, and as discussed more fully herein, the Debtor engaged
in a series of furloughs and layoffs, in an effort to manage its liquidity. As of the Petition Date,
the Debtor employed approximately 46 individuals, none of whom were subject to a collective-
bargaining agreement. On or before the Closing Date, all of the Debtor’s employees were offered
employment by Sequencing Health, the purchaser of substantially all of the Debtor’s assets. As of
the date hereof, the Debtor has no remaining operational employees. The Debtor has engagements
with several independent consultants, including Peter Swider who serves as the Debtor’s Chief
Wind-down Officer, President, and Secretary.

         3.        Preferred Equity Funding

                In an effort to finance its operations and bring its technologies to market, over the
course of approximately ten years, the Debtor solicited and received financing from various
investors in exchange for shares of preferred stock. The preferred stock is separated into four
series: Series A–D.

                In March 2013, the Debtor solicited and received approximately $8.5 million from
certain investors in exchange for Series A Preferred Equity Interests. Series A Preferred Equity
Interests hold a liquidation preference over Common Equity Interests.



                                                 18
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 31 of 84




               In November 2013, the Debtor solicited and received approximately $36.5 million
from certain investors in exchange for Series B Preferred Equity Interests. Series B Preferred
Equity Interests hold a liquidation preference over Series A Preferred Equity Interests and
Common Equity Interests.

                In February, June, and December 2019, the Debtor solicited and received
approximately $85.3 million from certain investors in exchange for Series C Preferred Equity
Interests. Series C Preferred Equity Interests hold a liquidation preference over Series B Preferred
Equity Interests, Series A Preferred Equity Interests, and Common Equity Interests.

              In February and March 2021, the Debtor solicited and received approximately $70
million from certain investors in exchange for Series D Preferred Equity Interests. Series D
Preferred Equity Interests hold a liquidation preference over Series C Preferred Equity Interests,
Series B Preferred Equity Interests, Series A Preferred Equity Interests, and Common Equity
Interests.

         4.        Organizational Structure

                   The Debtor does not have any corporate parents, subsidiaries, or corporate
affiliates.

         5.        Prepetition Debt Structure

                   a.     Prepetition Loan and Security Agreement

               On December 20, 2019, the Debtor entered into the Prepetition Loan and Security
Agreement with Oxford in its capacity as collateral agent and the lenders party thereto from time
to time. Under the Prepetition Loan and Security Agreement, the Prepetition Secured Parties
extended a term loan of $30 million to the Debtor. The obligations under the Prepetition Loan
and Security Agreement were secured by substantially all of the Debtor’s assets, except as
specifically excluded therein.

                   b.     Unsecured Indebtedness

                In the ordinary course of business, the Debtor incurred unsecured indebtedness to
various suppliers, trade vendors, landlords, utility providers, and services providers, among others.
As of the Petition Date, the Debtor’s estimated outstanding trade payables were approximately $4
million.

         6.        The Debtor’s Equity Holders

               The Debtor is a privately held Delaware corporation. In order of liquidation
preference, Series D is senior with respect to Series C, which is senior with respect to Series B,
which is senior with respect to Series A, which is senior with respect to Common Equity Interests.
Each series of Preferred Equity Interests accrues dividends at a different annual rate. The
liquidation preferences for Preferred Equity Interests have priority over the Debtor’s Common



                                                   19
RLF1 28213990v.1
               Case 22-10621-BLS              Doc 335         Filed 11/08/22       Page 32 of 84




Equity Interests. As of the Petition Date, the liquidation preferences of the Preferred Equity
Interests totaled approximately $200,300,000.

                The table below sets forth the amounts outstanding and the liquidation preference
for each series of Preferred Equity Interests as of the Petition Date.

    Series of
Preferred Equity                                                              Liquidation Preference
                               Amount Outstanding
    Interest

                                                                    The greater of:
                                                                    (a) Original Issue Price of $7.8400 per
                                                                    share plus all declared and unpaid
                                                                    dividends, and
      Series D                        $70 million
                                                                    (b) such amount per share as would have
                                                                    been payable had all shares of preferred
                                                                    stock been converted into common stock
                                                                    immediately prior to the liquidation event.
                                                                    Original Issue Price of $18.8852 per share
                                                                    plus all declared and unpaid dividends,
                                                                    where cash dividends accrue at a rate of
      Series C                       $85.3 million
                                                                    4% of the Original Issue Price per annum
                                                                    on each outstanding share of Series C
                                                                    Preferred Equity Interests.5
                                                                    Original Issue Price of $5.9548 per share
                                                                    plus all declared and unpaid dividends,
                                                                    where cash dividends accrue at a rate of
      Series B                       $36.5 million
                                                                    8% of the Original Issue Price per annum
                                                                    on each outstanding share of Series B
                                                                    Preferred Equity Interests.
                                                                    Original Issue Price of $1.00 per share
                                                                    plus all declared and unpaid dividends,
                                                                    where cash dividends accrue at a rate of
      Series A                        $8.5 million
                                                                    8% of the Original Issue Price per annum
                                                                    on each outstanding share of Series A
                                                                    Preferred Equity Interests.

       Prior to the Petition Date, on June 15, 2020, Foresite, one of the Debtor’s Series C Preferred
Equity Interest investors, commenced in the Superior Court of the State of California in the County
of Santa Clara that certain action captioned Foresite Capital Fund IV, L.P. v. GenapSys, Inc. and
Esfandyarpour, Case No. 20-cv-367305 (the “California Action”), alleging that the Debtor and Dr.
Esfandyarpour, among other things, fraudulently induced Foresite to purchase $50 million of the
Debtor’s Series C Preferred Equity Interests in June 2019 when Dr. Esfandyarpour served as the
Debtor’s CEO. The Debtor disputes the claims set forth in the California Action, in all respects,

5
    The liquidation preference for a certain investor holding 443,245 shares of Series C Preferred Equity Interests is
    $16.920665.

                                                         20
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 33 of 84




and has filed counterclaims against Foresite. Notwithstanding the Debtor’s denial of the California
Action’s merits and its counterclaims, since the California Action’s commencement, the California
Action has hampered the Debtor’s liquidity and has adversely affected its reputation. The
California Action remains pending and stayed, as against the Debtor, as of the Petition Date.

B.       Circumstances Giving Rise to The Chapter 11 Case

         1.        Prepetition Liquidity Crunch, the Status Quo Order and Relief Orders

                In late 2019, Dr. Esfandyarpour directed the limited launch of a first-generation
DNA benchtop sequencer, selling a few dozen instruments and billing customers less than $1
million. Around that same time, on December 3, 2019, Dr. Esfandyarpour and the Debtor entered
into an unsecured promissory note (the “Esfandyarpour Note”) whereby Dr. Esfandyarpour
borrowed $3,129,999.94 from the Debtor. The Esfandyarpour Note accrues interest at a rate of
2.09% per annum and is due and payable on the earlier of December 3, 2028, or such other date
as provided for in the Esfandyarpour Note. Dr. Esfandyarpour executed the note in his personal
capacity, as the borrower thereunder, and on behalf of the Debtor, as the lender thereunder. No
other parties executed the Dr. Esfandyarpour Note. The Debtor reserves all rights with respect to
the Esfandyarpour Note.

               Beginning in mid-2020, the Board demanded that Dr. Esfandyarpour step down as
CEO. In February 2021, Dr. Esfandyarpour’s employment with the Debtor ended, and the Board
appointed Dr. Jason Myers as CEO. By mid-2021, the Debtor halted sales of the first-generation
DNA benchtop sequencer and offered refunds to existing customers. While the underlying
semiconductor technology had been externally proven, there were numerous performance issues
with the benchtop sequencer due to inherent design flaws. The Debtor quickly realized that it
needed to redesign its DNA sequencing solution to better meet customer requirements and that its
product development and commercialization efforts would require additional funding.

               By mid-2021, the Debtor was incurring significant costs in connection with the
California Action, which further strained its liquidity position. To address its liquidity needs, the
Debtor engaged investment banking firms to assist the Debtor in raising new equity. In late 2021
and early 2022, the Debtor and its investment bankers pursued equity financing, debt financing,
and a special purpose acquisition company transaction. By early 2022, though, efforts to complete
the new equity raise with outside investors were unsuccessful, in part, due to the cloud created by
the California Action.

                In March 2022, the Debtor formed a Finance and Risk Committee of the Board to
oversee and direct financing efforts and focused its efforts on attempting to raise capital from its
existing stakeholders. That same month, the Debtor received a term sheet from Farallon, which
contemplated, subject to the terms thereof, Farallon leading a preferred stock financing round of
at least $125 million and up to $200 million, based on a $200 million pre-money valuation (the
“March 2022 Farallon Term Sheet”). In sum, the Debtor had soft commitments from its existing
stakeholders and outside investors for approximately $50 million. The financing would have
diluted investors who did not invest more money, including Dr. Esfandyarpour. In addition, the
Debtor was actively trying to resolve the California Action with respect to Foresite’s claims against
the Debtor to increase investment opportunities. Dr. Esfandyarpour did not want his equity interest

                                                  21
RLF1 28213990v.1
               Case 22-10621-BLS             Doc 335         Filed 11/08/22       Page 34 of 84




to be diluted by the financing, and he did not want the Debtor to settle its claims with Foresite,
which would leave Dr. Esfandyarpour as the sole defendant in the California Action. Dr.
Esfandyarpour then began a flurry of actions that would lead to the Debtor’s financial frailty.

                In early 2022, Dr. Esfandyarpour commenced two separate litigations against the
Debtor in the Chancery Court. First, on March 29, 2022, Dr. Esfandyarpour commenced the
Advancement Action in the Chancery Court, whereby Dr. Esfandyarpour sought advancement of
his legal fees and expenses incurred in connection with the California Action. Second, on April
12, 2022, Dr. Esfandyarpour commenced the Section 225 Action, whereby Dr. Esfandyarpour
sought a determination that the Debtor’s Board was improperly constituted and that a new slate of
directors were the true members of the Board, as well as entry of an order maintaining the status
quo pending a Trial on the Section 225 Action. The earliest Trial date available in the Section 225
Action that Dr. Esfandyarpour would agree to was July 6, 2022—a Trial date much too late while
the Debtor’s available cash was dwindling.

               On May 18, 2022, the Chancery Court entered the Status Quo Order in the Section
225 Action, which limited the Debtor’s ability to take any actions outside the ordinary course of
business.6 The parties in the Section 225 Action filed several motions seeking to modify the Status
Quo Order, but none were successful in expediting the requested relief sought or the Trial date.
Potential investors and lenders, including those who had previously shown interest in the March
2022 Farallon Term Sheet, were unwilling to move forward with financing while Dr.
Esfandyarpour’s challenge to the Board composition remained unresolved.

               On May 19, 2022, given its diminishing liquidity and the need to consider different
restructuring options, the Debtor and the other defendants in the Section 225 Action filed a motion
to modify the Status Quo Order to permit the Debtor to retain Lazard to explore all restructuring
avenues. On May 23, 2022, the Chancery Court granted the motion and entered the First SQ Relief
Order. Subsequently, the Debtor retained Lazard, and Lazard commenced the Prepetition
Marketing Process for potential investors, which is discussed in more detail below.

                On May 24, 2022, Dr. Esfandyarpour moved to modify the Status Quo Order to try
to stop the Finance and Risk Committee from overseeing and directing financing efforts. On June



6
    More specifically, the Status Quo Order prevented the Debtor from taking any actions outside the ordinary course
    of business, including, but not limited to: (a) taking any action that could result in any changes to the members
    or size of the Board, (b) amending, modifying, or repealing any of the provisions of the company’s bylaws or
    certificate of incorporation, (c) consenting to any merger, tender offer, restructuring, recapitalization, or
    reorganization of the company, (d) agreeing to any transaction that would result in a change of control of the
    company, (e) entering into or agreeing to any transaction, the consummation of which would require the approval
    of or a vote by the company’s stockholders, (f) authorizing or issuing securities of the company, or changing the
    terms of any of the company’s securities (including without limitation any common stock, preferred stock,
    options, warrants, or purchase rights), or purchasing any of the company’s securities; (g) in connection with any
    potential merger, sale, or other strategic transaction involving the company: (1) entering into any retention,
    engagement, or similar agreement with any financial advisor or investment banker, (2) agreeing or committing to
    any exclusivity provision, or (3) agreeing to pay any break-up, termination, or similar fees, or reimbursement or
    payment of expenses, (h) entering into or agreeing to any transaction to acquire another entity through any form
    of acquisition structure, including, but not limited to, any equity purchase or asset purchase agreement, or
    (i) entering into any legal binding commitment with respect to, or agreeing to do, any of the foregoing.

                                                        22
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 35 of 84




10, 2020, the Chancery Court denied Dr. Esfandyarpour’s motion and entered the Second SQ
Relief Order.

                The pre-Trial litigation in the Section 225 Action proved to be a major distraction
for the Board and management from the Debtor’s real issue—finding an investor who would be
willing to provide a much-needed capital infusion under the unfortunate circumstances being faced
by the Debtor. Although Lazard and the Debtor diligently scoured the market for potential
investors, by June 13, 2022, only one potentially viable investor had emerged as of that time. With
a mere ten days left of projected liquidity, the Debtor and the other defendants in the Section 225
Action filed another motion to modify the Status Quo Order, this time seeking authority to pursue
the potential investment, which, by its terms, necessitated the filing of a chapter 11 case. On June
17, 2022, the Chancery Court denied the motion and entered the Third SQ Relief Order. Shortly
thereafter, the Debtor filed a motion to move the trial date up a week. The Chancery Court denied
the motion.

               As a result, the Debtor had to take actions to limit costs so it could survive until the
Chancery Court held the Trial. On June 24, 2022, as a cost-saving measure to manage its waning
liquidity, the Debtor furloughed nearly all its employees, and, on July 8, 2022, more than 70
additional employees were laid off or further furloughed.

                On July 6, 2022, the Chancery Court conducted the Trial, hearing the arguments of
the Debtor, its co-defendants and Dr. Esfandyarpour. On July 8, 2022, the Chancery Court ruled
that, among other things, due to certain technicalities under the Debtor’s organizational documents,
only a portion of the Board was properly constituted and that certain voting agreements were
enforceable against Dr. Esfandyarpour, which restricted his ability to appoint or remove Board
members.

               After the Trial, from July 8, 2022 through July 11, 2022, the Debtor’s Board and
its stockholders filled certain vacant Board seats consistent with the Chancery Court’s ruling in
the Section 225 Action. As of July 11, 2022, the Debtor’s Board is comprised of the following
members: Messers. Moghadam, Soundararajan, Zollars, and Eliasson, Ms. Cecil, Dr. Myers and
Dr. Esfandyarpour.

         2.        The Prepetition Marketing Process

                As noted above, investors were unwilling to finance the Debtor, primarily in light
of the California Action, the 225 Action, and the disputes with Dr. Esfandyarpour. Facing
dwindling liquidity, the Debtor engaged Lazard to identify new investors or potential acquirors
through the Prepetition Marketing Process. To facilitate the Prepetition Marketing Process, the
Debtor and its advisors, including Lazard, prepared, among other things, marketing materials and
an electronic data room to provide potential investors and bidders with information upon which to
make a proposal. During the Prepetition Marketing Process, of the over 100 potential investors
contacted, 19 interested parties executed confidentiality agreements (each, an “NDA”) and were
granted access to the electronic data room, which contained significant diligence and other
confidential information about the Debtor’s business, assets, and technologies. Interested parties
were also offered the opportunity to meet with the Debtor’s management. Lazard informed each



                                                  23
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335        Filed 11/08/22     Page 36 of 84




of these parties that the Prepetition Marketing Process was expeditious by necessity in order to
address the Debtor’s liquidity.

               The Prepetition Marketing Process yielded two potential anchor investors: (i) Love
Health and (ii) Farallon.7 While the Debtor engaged in negotiations with both parties, these
negotiations temporarily stalled at times.

               One of the potential anchor investors, one or more funds affiliated with Farallon,
had been willing to be a lead investor in the earlier equity raise that was scuttled by the California
Action and Section 225 Action. Despite waning interest in participating in an equity raise, Farallon
became interested in loaning and/or investing money as part of a chapter 11 bankruptcy filing.
Farallon’s proposal also contemplated an additional investment from other investors.
Unfortunately, this proposal, the May 2022 Farallon Term Sheet —which was never signed by the
Debtor or Farallon—came undone. As the Debtor continued to negotiate with Farallon and other
existing investors, it became clear that the transaction contemplated by the May 2022 Farallon
Term Sheet was not actionable for a number of reasons. Among other things, Dr. Esfandyarpour
jeopardized the May 2022 Farallon Term Sheet by sending multiple emails and a presentation
addressed to some but not all of the company stockholders (but, notably, not to the Debtor’s Board
or to the Debtor’s internal or external counsel) that contained a litany of falsehoods and grievances.
At the bottom of the email, Dr. Esfandyarpour forwarded an initial email to the Debtor from Love
Health, exhorting stockholders to demand that the Debtor enter into a transaction with Love
Health.

                While the Prepetition Marketing Process was ongoing, Love Health had
approached senior management and indicated that it was willing to provide a new Series E
preferred equity investment. Although the liquidity under the proposed investment would have
come too late to rescue the Debtor and the terms of the non-binding offer were unacceptably too
constrictive, management nevertheless engaged in discussions with Love Health. Love Health
refused to sign the Company’s form NDA, but the Debtor ultimately agreed to Love Health’s form
of NDA. In its proposal, Love Health insisted that the Debtor agree to negotiate exclusively with
Love Health and cease preparation of any type of restructuring or bankruptcy filing. Given the
dire circumstances facing the Debtor, this was not feasible. Towards the end of June 2022, the
Debtor proposed a limited form of exclusivity if Love Health covered payroll and other agreed
expenses during the period of exclusivity, but Love Health rejected that proposal. The Debtor
made a further proposal to Love Health at the end of June that Love Health also rejected, although
Love Health indicated it would make a final proposal, which Love Health did not do until the
weekend before the Petition Date, as discussed herein.

              Despite the extensive Prepetition Marketing Process, which continued through May
and June of 2022, all of the Debtor’s prospects for viable sources of investment failed to manifest
and/or were deterred by the cloud cast by the California Action and Section 225 Action. Because
the Debtor was essentially out of liquidity and there were no interested investors or buyers for the



7
    Funds and/or accounts managed or advised by Farallon own, directly or indirectly, approximately 71% of the
    Series D Preferred Equity Interests. Additionally, a Series D Director designated by Zone III Healthcare
    Holdings, LLC (a Farallon managed vehicle) is a member of the Debtor’s Board.

                                                     24
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 37 of 84




Debtor, by the end of June 2022, the Debtor’s prospects for continuing as a going concern company
became bleak.

         3.        The Forbearance

               While the Debtor was litigating the Status Quo Order and conducting the
Prepetition Marketing Process, it was also subject to upcoming principal amortization payments
under the Prepetition Loan and Security Agreement commencing on June 1, 2022, which were
adding significant strain to the Debtor’s liquidity. Non-payment would trigger certain default
provisions in the Prepetition Loan and Security Agreement. The Debtor requested that Oxford
forbear from exercising remedies for 30 days if the Debtor did not make the required payments of
principal and interest.

               After negotiations, on June 1, 2022, Oxford consented to a 20-day forbearance.
Oxford agreed to forbear from debiting the Debtor’s bank account for its June 1st principal
payment (but required payment of its June interest payment) and from exercising its rights and
remedies with respect to certain specified defaults under the Prepetition Loan and Security
Agreement until the earliest of (a) June 21, 2022, (b) such other date as may be agreed in writing
between the Debtor and the Oxford, and (c) the date of any subsequent default under the Prepetition
Loan and Security Agreement or breach of the Forbearance Agreement. The Forbearance
Agreement also required that the Debtor provide Oxford with detailed plan and debtor-in-
possession term sheets or documents no later than June 10, 2022. Oxford agreed to extend the
deadline for those deliverables as the Prepetition Marketing Process continued to develop.

               However, given the Debtor’s defaults under the Prepetition Loan and Security
Agreement, the Debtor no longer had access to certain restricted cash (the “Restricted Cash”).
Without access to those funds, the Debtor did not have enough funding to meet its upcoming
payroll obligations. As discussed above, shortly after the Chancery Court entered the Third SQ
Relief Order, on June 24, and again on July 8, 2022, the Debtor made the difficult decision to
furlough and layoff nearly all of its employees.

         4.        Chapter 11 Financing Discussions

                Shortly after the Chancery Court ruled in the Section 225 Action, Love Health
proposed a revised term sheet that removed an interim funding mechanism from the earlier term
sheet, and also contemplated an out-of-court process. The Debtor requested additional information
as to whether Love Health was still willing to provide funding to avert an acute liquidity crisis
while the parties negotiated the proposal. On the day before the Petition Date, Love Health
responded and inquired about the amount of funding needed, and also indicated that it would like
a call with Oxford to discuss (among other things) how to avoid a bankruptcy or restructuring.

               Concurrently with reviewing Love Health’s new proposal, the Debtor received a
proposal from Oxford. Oxford agreed to provide the Debtor with access to the Restricted Cash
(which totaled $3 million) in connection with an in-court process and the DIP Facility, while
Lazard continued to market the Debtor’s assets for sale under section 363 of the Bankruptcy Code
through the Post-Petition Sale Process. After considering its limited options, including the
alternative proposal advanced by Love Health, the Debtor determined that Oxford’s funding


                                                 25
RLF1 28213990v.1
               Case 22-10621-BLS              Doc 335         Filed 11/08/22      Page 38 of 84




proposal ultimately proved more feasible and had a greater potential to maximize value for all its
stakeholders.

                In addition, Lazard and the Debtor engaged with Farallon and Oxford regarding
either of these parties potentially acting as a stalking horse purchaser in the Post-Petition Sale
Process. As of the Petition Date, though, the Debtor did not reach a deal with either Farallon or
Oxford regarding a stalking horse bid. Notwithstanding the fact that the Debtor did not have a
stalking horse bid, with Oxford’s agreement to provide the DIP Facility, the Debtor commenced
its Chapter 11 Case to conduct the Post-Petition Sale Process to sell substantially all of its assets
for the benefit of its creditors and stakeholders and continued to engage with Farallon and Oxford
from and after the Petition Date.

C.       The Chapter 11 Case

              The following is a brief description of certain material events that have occurred
during the Chapter 11 Case.

          1.       First Day Motions and Orders (other than the DIP Motion and DIP Financing
                   Order)

               On the Petition Date, in addition to the voluntary petition for relief filed by the
Debtor under chapter 11 of the Bankruptcy Code, the Debtor also filed a number of routine motions
and applications seeking certain “first day” relief, including the following:

                   •       Debtor’s Application for Appointment of Kroll Restructuring
                           Administration LLC as Claims and Noticing Agent Effective as of the
                           Petition Date [Docket No. 3]. The Debtor sought authorization to retain
                           and employ Kroll as its claims and noticing agent for the Chapter 11 Case.
                           On July 13, 2022, the Bankruptcy Court entered an Order granting the relief
                           requested in the application [Docket No. 47].8

                   •       Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor to
                           Pay Certain Prepetition Taxes and Fees and Related Obligations and (II)
                           Authorizing Banks to Honor and Process Check and Electronic Transfer
                           Requests Related Thereto [Docket No. 4]. The Debtor sought entry of
                           interim and final Orders (i) authorizing the Debtor to remit and pay certain
                           undisputed taxes and fees in the ordinary course of business, whether
                           incurred before or after the Petition Date, and (ii) granting related relief.
                           The Bankruptcy Court entered an Order granting the relief requested in the
                           motion on an interim basis on July 13, 2022 [Docket No. 42] and thereafter
                           entered an Order granting the relief requested in the motion on a final basis
                           on August 1, 2022 [Docket No. 87].



8
     Additionally, on August 17, 2022, the Bankruptcy Court entered an Order [Docket No. 166] authorizing the
     Debtor to retain Kroll, pursuant to section 327(a) of the Bankruptcy Code, to serve as administrative advisor to
     the Debtor.

                                                         26
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335       Filed 11/08/22    Page 39 of 84




                   •   Debtor’s Motion for Interim and Final Orders, Pursuant to Sections 105(a)
                       and 366 of the Bankruptcy Code, (I) Prohibiting Utility Companies from
                       Altering, Refusing, or Discontinuing Utility Services, (II) Deeming Utility
                       Companies Adequately Assured of Future Payment, (III) Establishing
                       Procedures for Determining Additional Adequate Assurance of Payment,
                       and (IV) Granting Related Relief [Docket No. 5]. The Debtor sought entry
                       of interim and final Orders, (i) approving the Debtor’s proposed form of
                       adequate assurance of postpetition payment to the utility companies; (ii)
                       establishing procedures for resolving any objections by the utility
                       companies relating to the proposed adequate assurance; (iii) prohibiting the
                       utility companies from altering, refusing or discontinuing service to, or
                       discriminating against, the Debtor solely on the basis of (a) the
                       commencement of the chapter 11 case, (b) a debt that is owed by the Debtor
                       for services rendered prior to the Petition Date or (c) on account of any
                       perceived inadequacy of the Debtor’s proposed adequate assurance; and
                       (iv) granting related relief. The Bankruptcy Court entered an Order
                       granting the relief requested in the motion on an interim basis on July 13,
                       2022 [Docket No. 46] and thereafter entered an Order granting the relief
                       requested in the motion on a final basis on August 1, 2022 [Docket No. 88].

                   •   Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor to
                       (A) Continue to Maintain Its Cash Management System, Including Bank
                       Accounts and Business Forms, and (B) Honor Certain Prepetition
                       Obligations Related Thereto; (II) Waiving (A) Certain Operating
                       Guidelines, and (B) Section 345(b) Deposit and Investment Requirements;
                       and (III) Granting Related Relief [Docket No. 6]. The Debtor sought entry
                       of interim and final Orders, (i) authorizing, but not directing, the Debtor to
                       (a) continue to operate the cash management system, (b) honor certain
                       prepetition obligations related thereto, and (c) maintain existing business
                       forms in the ordinary course of business; (ii) waiving certain operating
                       guidelines and deposit requirements; and (iii) granting related relief. The
                       Bankruptcy Court entered an Order granting the relief requested in the
                       motion on an interim basis on July 13, 2022 [Docket No. 43] and thereafter
                       entered an Order granting the relief requested in the motion on a final basis
                       on August 1, 2022 [Docket No. 90].

                   •   Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the
                       Debtor to (A) Pay Certain Prepetition Employment Obligations and (B)
                       Maintain Employee Benefits Programs and (II) Granting Related Relief
                       [Docket No. 7]. The Debtor sought entry of interim and final Orders (i)
                       authorizing, but not directing, the Debtor to (a) pay prepetition wages and
                       salaries, other compensation, and reimbursable expenses, and (b) continue
                       certain employee benefit programs in the ordinary course, (ii) authorizing
                       all banks to honor prepetition checks for payment of prepetition employee
                       obligations, and (iii) granting other related relief. The Bankruptcy Court
                       entered an Order granting the relief requested in the motion on an interim


                                                27
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22    Page 40 of 84




                          basis on July 13, 2022 [Docket No. 51] and thereafter entered an Order
                          granting the relief requested in the motion on a final basis on August 1, 2022
                          [Docket No. 89].
                   •      Debtor’s Motion for Entry of Order (I) Authorizing the Debtor to Redact
                          Certain Personal Identification Information and (II) Granting Related
                          Relief [Docket No. 8]. On July 13, 2022, the Bankruptcy Court entered an
                          Order granting the relief requested in the motion [Docket No. 45].

         2.        Post-Petition Financing and Bidding Procedures

                 On the Petition Date, the Debtor also filed the DIP Motion, asking the Bankruptcy
Court to, among other things, authorize the Debtor to obtain the DIP Facility from the DIP Lenders,
authorize the Debtor to use “cash collateral,” as such term is defined in the section 363 of the
Bankruptcy Code, grant the DIP Lenders a senior, priming lien on certain prepetition collateral
securing the DIP Facility, and modifying the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of
the DIP Documents. The Bankruptcy Court entered an Order granting the relief requested in the
motion on an interim basis on July 13, 2022 [Docket No. 41] and scheduling a hearing to consider
the final relief requested in the DIP Motion for August 4, 2022.

              On July 14, 2022, the Debtor filed the Bidding Procedures Motion seeking approval
of, among other things, certain key dates and deadlines in connection with the Post-Petition Sale
Process and the Debtor’s Bidding Procedures. The hearing to consider the relief requested in the
Bidding Procedures Motion was scheduled for August 4, 2022.

               On July 28, 2022, the MTD Movants filed objections to the Bidding Procedures
Motion and DIP Motion requesting that the hearing on the relief requested therein be adjourned
until such time as the Bankruptcy Court ruled on the MTD Movants’ Motion to Dismiss, which is
discussed further herein.

               On August 4, 2022, the Bankruptcy Court held a “second day” hearing to consider,
among other things, the relief requested in the DIP Motion, on a final basis, and the Bidding
Procedures Motion and the MTD Movants’ objections thereto. At the conclusion of the “second
day” hearing, the Bankruptcy Court adjourned the hearing on the DIP Motion and the Bidding
Procedures Motion until after the Bankruptcy Court ruled on the Motion to Dismiss.

               As discussed further herein, after the Bankruptcy Court issued its Bench Ruling on
the Motion to Dismiss, on August 17, 2022, the Bankruptcy Court entered the Final DIP Order
granting the relief requested in the motion on a final basis [Docket No. 173] and entered the
Bidding Procedures Order [Docket No. 175].

         3.        No Appointment of Committee

              On July 26, 2022, the United States Trustee filed the Statement that Unsecured
Creditors’ Committee Has Not Been Appointed [Docket No. 75] indicating that no official
committee of unsecured creditors had been appointed in the Chapter 11 Case.



                                                   28
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335      Filed 11/08/22    Page 41 of 84




         4.        The Motion to Dismiss

               On July 25, 2022, the MTD Movants filed the Motion to Dismiss seeking to, among
other things, dismiss the Debtor’s Chapter 11 Case for being filed without proper corporate
authorization or, in the alternative, appoint a chapter 11 trustee.

               On August 8, 2022, the Debtor filed its objection to the Motion to Dismiss [Docket
No. 118], arguing, among other things, that the Debtor’s Chapter 11 Case was properly authorized
by the Board. In addition, Oxford also filed an objection [Docket No. 119] to the Motion to
Dismiss.

              On August 15, 2022, the Bankruptcy Court held a hearing on the Motion to Dismiss
and considered the arguments of counsel for the Debtor, Oxford and the MTD Movants and their
respective submissions with the Bankruptcy Court.

                On August 16, 2022, the Bankruptcy Court issued the Bench Ruling, among other
things, denying the Motion to Dismiss and finding that the Debtor properly constituted its Board
after the Trial and properly commenced the Chapter 11 Case. And, on August 18, 2022, the
Bankruptcy Court entered an Order denying the Motion to Dismiss for the reasons stated on the
record made at the Bench Ruling.

         5.        Employment and Compensation of Debtor’s Professionals and Advisors

                On August 17, 2022, the Bankruptcy Court entered (i) an Order [Docket No. 171]
authorizing the Debtor’s employment of Richards, Layton & Finger, P.A., as bankruptcy counsel;
(ii) an Order [Docket No. 170] authorizing the Debtor’s employment of Willkie Farr & Gallagher
LLP, as special litigation and corporate counsel; and (iii) an Order [Docket No. 169] authorizing
the Debtor’s employment of Lazard, as investment banker.

         6.        Post-Petition Sale Process

                 Lazard launched the Prepetition Marketing Process in May 2022, contacting over
100 potential investors on behalf of the Debtor, including strategic investors, financial investors,
venture investors, and existing stakeholders. The Prepetition Marketing Process was designed to
(i) raise capital out-of-court through debt or a new round of preferred equity financing, (ii) solicit
bids for the Debtor or its assets, or (iii) raise capital through a chapter 11 process that could include
both debtor-in-possession and/or exit financing. From after the Petition Date, the marketing of the
Debtor and its assets continued through the Post-Petition Sale Process.

                During the Prepetition Marketing Process, of the over 100 potential investors
contacted, 19 interested parties executed confidentiality agreements and were granted access to the
electronic data room. In addition, Lazard and the Debtor conducted numerous diligence meetings
and responded to numerous diligence requests from potential bidders.

              In connection with developing a framework for executing the Post-Petition Sale
Process, the Debtor, in consultation with Lazard and its other advisors, designed the Bidding

                                                   29
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335        Filed 11/08/22   Page 42 of 84




Procedures to promote a competitive and expedient sales process. The Bidding Procedures were
intended to provide the Debtor with flexibility to solicit proposals, negotiate transactions, hold an
auction, and consummate a sale for the highest or otherwise best bid.

                Following the Petition Date, the Debtor and Lazard’s continued negotiations with
Farallon resulted in the Debtor receiving a Stalking Horse Bid for substantially all of the Debtor’s
assets from the Stalking Horse Bidder, Sequencing Health. a purchaser entity affiliated with
entities, funds and/or accounts managed or advised, directly or indirectly, by, or under common
control with, two investors holding Series D Preferred Equity Interests in the Debtor: Farallon and
Soleus Private Equity Fund II, LP. Pursuant to the Stalking Horse Bid, the Stalking Horse Bidder
proposed to purchase the Purchased Assets for the aggregate purchase price of up to $10,000,000
in cash consideration and the assumption of certain prepetition indebtedness to Oxford. The
aggregate Purchase Price, based on the Cash Purchase Price and the Assumed Oxford
Indebtedness, was approximately $42 million.

              On August 11, 2022, the Special Committee approved the Sale with Sequencing
Health and authorized the Debtor’s entry into the Asset Purchase Agreement.

               On August 12, 2022, the Debtor and Sequencing Health entered into the initial form
of Asset Purchase Agreement, and the Debtor filed the Stalking Horse Motion seeking approval
of, among other things, the designation of the Stalking Horse Bidder and approval of certain bid
protections, including an expense reimbursement and a breakup fee. On August 21, 2022, the
United States Trustee filed an objection to the Stalking Horse Motion.

              On August 22, 2022, the Bankruptcy Court held a hearing to consider the Stalking
Horse Motion. At the conclusion of the hearing, the Bankruptcy Court sustained the United States
Trustee’s Objection in part. On August 24, 2022, the Bankruptcy Court entered the Stalking Horse
Order designating Sequencing Health as the Stalking Horse Bidder under the final form of Asset
Purchase Agreement and approving only the expense reimbursement.

               On or about August 29, 2022, Love Health reached out to the Debtor regarding the
potential extension of the Bid Deadline. Pursuant to the Bidding Procedures, the Debtor initially
established the Bid Deadline as August 30, 2022, at 4:00 p.m. (ET). After discussions with Love
Health, the Debtor, with the consent of Oxford, entered into a Letter Agreement, dated August 31,
2022, whereby the Debtor agreed to extend the Bid Deadline to September 2, 2022 at 4:00 p.m.
based on Love Health’s agreement to cover the anticipated additional expenses to be incurred by
the Debtor as a consequence of moving the Bid Deadline and related milestones.

               On September 2, 2022, Love Health notified the Debtor that it would not be able to
meet the extended Bid Deadline and requested a further extension of the Bid Deadline. After
consultation with Oxford, the Debtor determined it was not in the best interest of the Debtor’s
estate to further extend the Bid Deadline or any related milestones, especially given (i) the
uncertainty over whether any further extension would assist Love Health being able to meet the
requirements for submitting a Qualified Bid and (ii) the ability of Sequencing Health to terminate
the Asset Purchase Agreement in the event that a sale had not closed by an outside date of
September 16, 2022.


                                                 30
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 43 of 84




               Although the Debtor and Lazard vigorously marketed the Debtor’s Assets during
both the Prepetition Marketing Process and the Post-Petition Sale Process, the Debtor did not
receive any actionable letters of intent, non-binding expressions of interest or draft purchase
agreements, other than the Asset Purchase Agreement provided by Sequencing Health.
Accordingly, following the expiration of the Bid Deadline, as extended, the Debtor, in consultation
with its advisors and Oxford, selected the Stalking Horse Bid as the Successful Bid for the
Purchased Assets. On September 3, 2022, the Special Committee authorized the Debtor to seek
entry of the Sale Order and consummate the Sale with Sequencing Health pursuant to the Asset
Purchase Agreement thereafter.

               On September 4, 2022, the Debtor filed the Notice of (I) Cancellation of Auction
and (II) Successful Bid [Docket No. 229] identifying that (i) the Stalking Horse Bidder submitted
the only Qualified Bid for the Debtor’s assets, (ii) the Debtor received no other Qualified Bids by
the Bid Deadline, and (iii) the Auction was cancelled.

               On September 8, 2022, the Bankruptcy Court held the Sale Hearing to consider
approval of the Sale to Sequencing Health, as Stalking Horse Bidder, pursuant to the Asset
Purchase Agreement. At the Sale Hearing, a representative from Love Health appeared before the
Bankruptcy Court, among other things, requesting a further extension of the Bid Deadline. After
hearing the request of Love Health and the arguments of the Debtor, Sequencing Health and
Oxford, each in opposition to the requested extension, the Bankruptcy Court denied Love Health’s
request and orally approved the Sale to Sequencing Health pursuant to the Asset Purchase
Agreement.

                On September 12, 2022, the Bankruptcy Court entered the Sale Order approving
the Sale of the Purchased Assets to Sequencing Health pursuant to the Asset Purchase Agreement.

               On September 14, 2022, the Sale closed. In connection with the Sale, the Debtor
and Sequencing Health entered into that certain Transitions Services Agreement, dated September
14, 2022 (the “TSA”), whereby the Debtor agreed to provide certain Services (as defined in the
TSA), in exchange for the fees, costs and expenses set forth therein. The term of the TSA expires
on November 14, 2022 and is subject to a one-time extension of thirty (30) days by Sequencing
Health.

         7.        Claims Process and Bar Date

                   a.    Section 341(a) Meeting of Creditors

               On August 12, 2022, the United States Trustee presided over the initial section
341(a) meeting of creditors in the Chapter 11 Case. At the conclusion of the meeting held on
August 12, 2022, the United States Trustee adjourned the section 341(a) meeting of creditors until
such time as the Debtor filed its Schedules. On August 31, 2022, the Debtor filed its Schedules.
On September 16, 2022, the United States Trustee reconvened the adjourned section 341(a)
meeting of creditors and concluded the meeting.



                                                 31
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335      Filed 11/08/22   Page 44 of 84




                   b.     Schedules and Statements

               On August 31, 2022, the Debtor filed with the Bankruptcy Court sealed and
redacted versions of its Schedules.

                   c.     Bar Dates

               On September 14, 2022, the Debtor filed the Motion of the Debtor for Entry of an
Order Establishing Bar Dates and Related Procedures for Filing Proofs of Claim (Including for
Administrative Expense Claims Arising Under Section 503(b)(9) of the Bankruptcy Code) and
Approving the Form and Manner of Notice Thereof [Docket No. 250] seeking entry of an Order
establishing certain Bar Dates, including the General Bar Date, the Governmental Bar Date, the
Rejection Bar Date, and the Amended Schedules Bar Date. The Bankruptcy Court entered the Bar
Date Order, which granted the relief requested in the motion on September 29, 2022 [Docket No.
288].

               On September 29, 2022, the Debtor filed and caused to be served the Notice of
Deadline for the Filing of Proofs of Claim, Including for Claims Asserted under Section 503(b)(9)
of the Bankruptcy Code [Docket No. 289] establishing the Bar Dates as a matter of record in the
Chapter 11 Case.

         8.        KEIP/KERP

                   On August 17, 2022, the Bankruptcy Court entered the KEIP/KERP Order [Docket
No. 174].

               Based on the Purchase Price, the KEIP was not earned and, as a result, the KEIP
was not paid. In connection with the closing of the Sale, the KERP was paid to all eligible KERP
Employees in accordance with the terms of the KEIP/KERP Motion, as approved by the
KEIP/KERP Order.

         9.        Rejection of Executory Contracts and Unexpired Leases

               After the Sale closed, in connection with evaluating the path forward for the Debtor,
Lazard and the Debtor reviewed the Debtor’s remaining executory contracts and determined that
a number of those agreements were no longer required because the Debtor no longer maintains an
operating business.

               Accordingly, on September 14, 2022, the Debtor filed its first omnibus rejection
motion [Docket No. 249] (the “First Rejection Motion”) seeking to reject certain executory
contracts. On September 27, 2022, the Bankruptcy Court entered an Order authorizing the First
Rejection Motion [Docket No. 289].

             On September 30, 2022, the Debtor filed its second omnibus rejection motion
[Docket No. 292] (the “Second Rejection Motion”) seeking to reject certain executory contracts.
On October 24, 2022, the Bankruptcy Court entered an Order authorizing the Second Rejection
Motion [Docket No. 313].


                                                 32
RLF1 28213990v.1
                  Case 22-10621-BLS            Doc 335         Filed 11/08/22       Page 45 of 84




              On October 21, 2022, the Debtor filed its third omnibus rejection motion [Docket
No. 310] (the “Third Rejection Motion”) seeking to reject certain executory contracts. As of
November 8, 2022, the Third Rejection Motion remains pending.

            10.    Corporate Name Change

                Section 7.2 of the Asset Purchase Agreement required the Debtor to, among other
things, cease using its current name, or any variation thereof, within three business days of the
closing of the Sale.

               Accordingly, on September 15, 2022, the Debtor filed the necessary documentation
with the Secretary of State changing its corporate name to “Redwood Liquidating Co.”

               On September 27, 2022, the Bankruptcy Court entered an Order [Docket No. 283]
authorizing the Debtor to change the case caption to reflect, among other things, the Debtor’s
corporate name change.

                          IV.      SUMMARY OF TREATMENT OF CLAIMS
                                    AND ESTIMATED RECOVERIES

A.          Summary of Treatment of Claims and Equity Interests and Estimated Recoveries

                The following chart provides a summary of treatment of each Class of Claims and
Equity Interests (other than Administrative Expense Claims, Prepetition Lender Claims, DIP
Credit Agreement Claims, and Priority Tax Claims) and an estimate of the recoveries of each
Class.9 The treatment provided in this chart is for informational purposes only and is qualified in
its entirety by Article VII of the Combined Disclosure Statement and Plan.

                                                                                            Entitled
              Claim or                                                   Impaired
                                                                                               to         Approx.
    Class      Equity                     Treatment                         or
                                                                                            Vote on       Recovery
              Interest                                                  Unimpaired
                                                                                            the Plan
     1       Priority       The     legal,    equitable,    and          Unimpaired             No           100%
             Non-Tax        contractual rights of the holders of                           (Presumed
             Claims         Priority Non-Tax Claims are                                     to accept)
                            unaltered by the Plan. Except to
                            the extent that a Holder of a
                            Priority Non-Tax Claim agrees to
                            a less favorable or different
                            treatment, on, or as soon as

9
      These amounts represent estimated Allowed Claims or Allowed Equity Interests, and do not represent amounts
      actually asserted by Creditors or Holders of Equity Interests in proofs of claim or otherwise. The Debtor has not
      completed its analysis of Claims and Equity Interests in the Chapter 11 Case and objections to such Claims and
      Equity Interests have not been fully litigated. Therefore, there can be no assurances of the exact amount of the
      Allowed Claims or Allowed Equity Interests at this time. Rather, the actual amount of the Allowed Claims or
      Allowed Equity Interests may be greater or lower than estimated.

                                                          33
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335        Filed 11/08/22   Page 46 of 84




                                                                            Entitled
            Claim or                                           Impaired
                                                                               to        Approx.
 Class       Equity                Treatment                      or
                                                                            Vote on      Recovery
            Interest                                          Unimpaired
                                                                            the Plan
                       reasonably practicable after, the
                       later of the Effective Date or the
                       date such Priority Non-Tax Claim
                       becomes an Allowed Priority Non-
                       Tax Claim, each holder of an
                       Allowed Priority Non-Tax Claim
                       shall receive (i) Cash in an amount
                       equal to such Allowed Priority
                       Non-Tax Claim, or (ii) such other
                       treatment that would render such
                       Allowed Priority Non-Tax Claim
                       Unimpaired.
    2      Secured     The     legal,     equitable,    and   Unimpaired        No        100%
           Claims      contractual rights of the holders of                (Presumed
                       Secured Claims are unaltered by                      to accept)
                       the Plan. Except to the extent that
                       a holder of an Allowed Secured
                       Claim agrees to such other, less
                       favorable treatment, on, or as soon
                       as reasonably practicable after, the
                       later of the Effective Date or the
                       date such Secured Claim becomes
                       an Allowed Secured Claim, each
                       holder of an Allowed Secured
                       Claim shall receive (i) Cash in an
                       amount equal to such Allowed
                       Secured Claim, (ii) the Debtor’s
                       interest in the collateral securing
                       such Holder’s Allowed Secured
                       Claim, or (iii) such other treatment
                       that would render such Allowed
                       Secured Claim Unimpaired.
    3      General     Except to the extent that a holder      Impaired       YES         [__]%
           Unsecured   of an Allowed General Unsecured
           Claims      Claim agrees to such other, less
                       favorable treatment, each Holder
                       of an Allowed General Unsecured
                       Claim shall be paid its Pro Rata
                       share of the Net Distributable
                       Assets, in full and final
                       satisfaction, settlement, discharge,

                                                 34
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335        Filed 11/08/22   Page 47 of 84




                                                                            Entitled
            Claim or                                           Impaired
                                                                               to        Approx.
 Class       Equity                Treatment                      or
                                                                            Vote on      Recovery
            Interest                                          Unimpaired
                                                                            the Plan
                       and release of, and in exchange for,
                       its Allowed General Unsecured
                       Claims.
 4a        Series D    (i)     In the event that Holders of    Impaired        No          0%
           Preferred   Class 3 General Unsecured Claims                     (Deemed
           Equity      are not paid in full, Holders of                     to reject)
           Interests   Series D Preferred Equity Interests
                       shall not receive or retain any
                       distribution under the Plan on
                       account of such Series D Preferred
                       Equity Interests.

                       (ii)    In the event that Holders of
                       Class 3 General Unsecured Claims
                       are paid in full, each Holder of
                       Series D Preferred Equity Interests
                       shall be paid its Pro Rata share of
                       the remaining Net Distributable
                       Assets after such assets are used to
                       pay in full the Claims of Holders of
                       Class 3 General Unsecured
                       Claims, in accordance with the
                       absolute priority rule and the terms
                       of this Combined Disclosure
                       Statement and Plan.

                       Regardless of whether Holders of
                       Class 4 Series D Preferred Equity
                       Interests receive any recovery
                       from available Net Distributable
                       Assets, Series D Preferred Equity
                       Interests shall be discharged,
                       cancelled,      released      and
                       extinguished as of the Effective
                       Date.
   4b      Series D    Holders of Series D 510(b) Claims       Impaired        No          0%
           510(b)      shall not receive or retain any                      (Deemed
           Claims      distribution under the Plan on                       to reject)
                       account of such Series D 510(b)
                       Claims.


                                                 35
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335        Filed 11/08/22   Page 48 of 84




                                                                            Entitled
            Claim or                                           Impaired
                                                                               to        Approx.
 Class       Equity                Treatment                      or
                                                                            Vote on      Recovery
            Interest                                          Unimpaired
                                                                            the Plan
   5a      Series C    Holders of Series C Preferred           Impaired        No          0%
           Preferred   Equity Interests shall not receive                   (Deemed
           Equity      or retain any distribution under the                 to reject)
           Interests   Plan on account of such Series C
                       Preferred Equity Interests. Series
                       C Preferred Equity Interests shall
                       be discharged, cancelled, released
                       and extinguished as of the
                       Effective Date.
   5b      Series C    Holders of Series C 510(b) Claims       Impaired        No          0%
           510(b)      shall not receive or retain any                      (Deemed
           Claims      distribution under the Plan on                       to reject)
                       account of such Series C 510(b)
                       Claims.
   6a      Series B    Holders of Series B Preferred           Impaired        No          0%
           Preferred   Equity Interests shall not receive                   (Deemed
           Equity      or retain any distribution under the                 to reject)
           Interests   Plan on account of such Series B
                       Preferred Equity Interests. Series
                       B Preferred Equity Interests shall
                       be discharged, cancelled, released
                       and extinguished as of the
                       Effective Date.
   6b      Series B    Holders of Series B 510(b) Claims       Impaired        No          0%
           510(b)      shall not receive or retain any                      (Deemed
           Claims      distribution under the Plan on                       to reject)
                       account of such Series B 510(b)
                       Claims.
   7a      Series A    Holders of Series A Preferred           Impaired        No          0%
           Preferred   Equity Interests shall not receive                   (Deemed
           Equity      or retain any distribution under the                 to reject)
           Interests   Plan on account of such Series A
                       Preferred Equity Interests. Series
                       A Preferred Equity Interests shall
                       be discharged, cancelled, released
                       and extinguished as of the
                       Effective Date.




                                                 36
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 49 of 84




                                                                             Entitled
            Claim or                                             Impaired
                                                                                to        Approx.
 Class       Equity                 Treatment                       or
                                                                             Vote on      Recovery
            Interest                                            Unimpaired
                                                                             the Plan
     7b    Series A     Holders of Series A 510(b) Claims        Impaired       No          0%
           510(b)       shall not receive or retain any                      (Deemed
           Claims       distribution under the Plan on                       to reject)
                        account of such Series A 510(b)
                        Claims.
     8a    Common       Holders of Class 8a Common               Impaired       No          0%
           Equity       Equity Interests shall not receive                   (Deemed
           Interests    or retain any distribution under the                 to reject)
                        Combined Disclosure Statement
                        and Plan on account of such
                        Common         Equity      Interests.
                        Common Equity Interests shall be
                        discharged, cancelled, released
                        and extinguished as of the
                        Effective Date; provided, however,
                        that, upon the Effective Date, the
                        Plan Administrator shall be
                        deemed to hold one share of
                        common equity in the Post-
                        Effective Date Debtor solely for
                        the benefit of Holders of Allowed
                        Claims and, if entitled to a
                        recovery in accordance with the
                        terms of this Combined Disclosure
                        Statement and Plan, Allowed
                        Equity Interests; provided, further,
                        that the Plan Administrator shall
                        not be entitled to receive any
                        Distribution on account of such
                        Common Equity Interest.
     8b    Common       Holders of Common Equity 510(b)          Impaired       No          0%
           Equity       Claims shall not receive or retain                   (Deemed
           510(b)       any distribution under the Plan on                   to reject)
           Claims       account of such Common Equity
                        510(b) Claims.


                       V.    TREATMENT OF UNCLASSIFIED CLAIMS

A.        Administrative Expense Bar Date


                                                  37
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335      Filed 11/08/22   Page 50 of 84




               Requests for payment of Administrative Expense Claims (other than 503(b)(9)
Claims, which are subject to the General Bar Date, Professional Claims and the Claims of
Governmental Units arising under section 503(b)(1)(B), (C) or (D) of the Bankruptcy Code) must
be filed no later than the Administrative Expense Bar Date. Unless otherwise Ordered by the
Bankruptcy Court, Holders of Administrative Expense Claims (other than the Holders of 503(b)(9)
Claims, Professional Claims and the Claims of Governmental Units arising under section
503(b)(1)(B), (C) or (D) of the Bankruptcy Code) that do not file requests for the allowance and
payment thereof on or before the Administrative Expense Bar Date shall forever be barred from
asserting such Administrative Expense Claims against the Debtor or its Estate.

B.       Administrative Expense Claims

               Except to the extent that any Entity entitled to payment of an Allowed
Administrative Expense Claim agrees to a different treatment, each Holder of an Allowed
Administrative Expense Claim shall receive Cash in an amount equal to such Allowed
Administrative Expense Claim on the Effective Date or seven (7) Business Days after the entry of
a Final Order Allowing such Administrative Expense Claim, or as soon thereafter as is practicable.
Such payments to Holders of Allowed Administrative Expense Claims shall be paid by the Plan
Administrator. Objections to Administrative Expense Claims must be filed and served on the Plan
Administrator and the requesting party by the Administrative Expense Claim Objection Deadline.
Nothing in this Combined Disclosure Statement and Plan shall extend or be deemed to extend the
deadline of November 3, 2022 previously fixed by the Bar Date Order for filing 503(b)(9) Claims.

C.       Prepetition Secured Parties’ Claims

                The Prepetition Secured Parties’ Claims have been satisfied in full upon the closing
of the Sale through Sequencing Health’s assumption of the Debtor’s obligations arising under the
Prepetition Loan and Security Agreement, via the Oxford Loan Modification Agreement, as set
forth in, and subject to the terms of, the Asset Purchase Agreement. The Holder of the Prepetition
Secured Parties’ Claims shall not receive any Distributions under the Combined Disclosure
Statement and Plan.

D.       DIP Credit Agreement Claims

               The DIP Credit Agreement Claims have been paid in full in Cash and satisfied upon
the closing of the Sale. The Holder of the DIP Credit Agreement Claims shall not receive any
Distributions under the Combined Disclosure Statement and Plan.

E.       Priority Tax Claims

         1.        Priority Tax Claims

               Pursuant to section 1129(a)(9)(C) of the Bankruptcy Code, unless otherwise agreed
by the Holder of a Priority Tax Claim and the Debtor or the Plan Administrator, as applicable,
each Holder of an Allowed Priority Tax Claim will receive, at the sole option of the Debtor or the
Plan Administrator, as applicable, in full and final satisfaction, settlement, release, and discharge
of, and in exchange for, its Allowed Priority Tax Claim that is due and payable on or before the
Effective Date, (i) Cash in an amount equal to the amount of such Allowed Priority Tax Claim, or

                                                 38
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 51 of 84




such other amount agreed to by the Debtor or the Plan Administrator and such Holder, on the
Effective Date or within seven (7) Business Days after such Allowed Priority Tax Claim becomes
an Allowed Claim, whichever is later, or as soon thereafter as is practicable or (ii) Cash in an
aggregate amount of such Allowed Priority Tax Claim payable in installment payments over a
period of time not to exceed five years after the Petition Date, pursuant to section 1129(a)(9)(C)
of the Bankruptcy Code; provided, however, that all Allowed Priority Tax Claims that are not due
and payable on or before the Effective Date shall be paid in the ordinary course of business by the
Plan Administrator as they become due.

         2.        Other Provisions Concerning Treatment of Priority Tax Claims

               Notwithstanding anything to the contrary stated in the Disclosure Statement and
Plan, any Claim on account of any penalty arising with respect to or in connection with an Allowed
Priority Tax Claim that does not compensate the Holder for actual pecuniary loss shall be treated
as a General Unsecured Claim, and the Holder (other than as the Holder of a General Unsecured
Claim) may not assess or attempt to collect such penalty from the Debtor or their respective
property.

F.       Professional Claims

         1.        Final Fee Applications and Payment of Professional Claims

               All final requests for payment of Professional Claims may be made any time after
Confirmation but shall be filed no later than forty-five (45) days after the Effective Date. All such
final requests will be subject to approval by the Bankruptcy Court in accordance with the
procedures established by the Bankruptcy Code, the Bankruptcy Rules and prior orders of the
Bankruptcy Court, including the Interim Compensation Order, and once approved by the
Bankruptcy Court, shall be promptly paid up to the full Allowed amount.

         2.        Professional Fee Reserve

                As soon as practicable after Confirmation and not later than the Effective Date, the
Debtor shall establish and fund the Professional Fee Reserve. The Professional Fee Reserve shall
be maintained in trust for the Professionals. Such funds shall not be considered property of the
Debtor’s Estate. The amount of Allowed Professional Claims owing to the Professionals shall be
paid in Cash to such Professionals from funds held in the Professional Fee Reserve as set forth
herein. Once payments on account of such Allowed Professional Claims have been made in full,
any such excess Cash remaining in the Professional Fee Reserve shall be considered Assets of the
Post-Effective Date Debtor’s Estate for Distribution by the Plan Administrator in accordance with
the terms of the Combined Disclosure Statement and Plan. For the avoidance of doubt, (i) to the
extent that the Professional Fee Reserve is not sufficient to satisfy in full all Allowed Professional
Claims, such Allowed Claims shall nevertheless be paid in full in Cash from other available Cash
prior to making any Distributions to the Holders of Allowed Claims or, if applicable, Allowed
Equity Interests, and (ii) any fees and expenses by Professionals in connection with preparing fee
applications shall be paid from the Professional Fee Reserve or, if exhausted, from other available
Cash prior to making any Distributions to the Holders of Allowed Claims or, if applicable, Allowed
Equity Interests.

                                                 39
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 52 of 84




         3.        Allocation and Estimation of Professional Claims

                Professionals providing services to the Debtor shall reasonably estimate their
unpaid Professional Claims against the Debtor relating to the period prior to and through the
Effective Date and shall deliver such estimate to the Debtor by two (2) Business Days prior to the
Effective Date; provided, however, that such estimate shall not be considered an admission with
respect to the fees and expenses of such Professional and such Professionals are not bound to any
extent by the estimates. If a Professional does not provide an estimate, the Debtor may estimate
the unbilled fees and expenses of such Professional.

         4.        Timing for Filing Professional Claims

                All requests for compensation or reimbursement of Professionals retained in the
Chapter 11 Case for services performed and expenses incurred prior to the Effective Date shall be
filed and served on: (i) the Debtor, 10385 Westmoor Dr. #100, Westminster, Colorado 80021
(Attn: Peter Swider); (ii) counsel to the Debtor, Richards, Layton & Finger, P.A., One Rodney
Square, 920 North King Street, Wilmington, Delaware 19801 (Attn: Daniel J. DeFranceschi, Esq.
(defranceschi@rlf.com), Michael J. Merchant, Esq. (merchant@rlf.com), and David T. Queroli,
Esq. (queroli@rlf.com)); (iii) the Office of the United States Trustee for the District of Delaware,
844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: Jane Leamy, Esq.
(jane.m.leamy@usdoj.gov)); (iv) counsel for the DIP Administrative Agent and Prepetition Agent,
(a) Greenberg Traurig LLP, 1000 Louisiana Street, Suite 1700, Houston, Texas 77002 (Attn: Shari
L. Heyen, Esq. (heyens@gtlaw.com) and Eric J. Howe, Esq. (howee@gtlaw.com)), and (b)
Greenberg Traurig LLP, Terminus 200, 3333 Piedmont Road NE, Suite 2500, Atlanta, Georgia
30305 (Attn: David B. Kurzweil, Esq. (kurzweild@gtlaw.com) and Matthew A. Petrie, Esq.
(petriem@gtlaw.com)) and (v) such other entities who are designated by the Bankruptcy Rules,
the Confirmation Order, or other Order of the Bankruptcy Court, by no later than forty-five (45)
days after the Effective Date, unless otherwise agreed by the Debtor or the Plan Administrator, as
applicable. Objections to any Professionals Claim must be filed and served on the Plan
Administrator and the requesting Professional no later than twenty (20) days after the filing of a
request for compensation or reimbursement by a Professional, unless otherwise ordered by the
Bankruptcy Court (the “Professional Claims Objection Deadline”).

         5.        Post-Effective Date Fees and Expenses

                Upon the Effective Date, any requirement that Professionals comply with sections
327 through 331 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and, subject to the Plan Administrator Agreement, the
Plan Administrator may employ and pay any Professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to,
or action, Order, or approval of, the Bankruptcy Court.

G.       Payment of Statutory Fees

              All Statutory Fees that become due and payable prior to the Effective Date shall be
paid by the Debtor on the Effective Date. After the Effective Date, the Plan Administrator shall


                                                 40
RLF1 28213990v.1
               Case 22-10621-BLS            Doc 335     Filed 11/08/22   Page 53 of 84




pay any and all such fees when due and payable and shall file with the Bankruptcy Court quarterly
reports in a form reasonably acceptable to the United States Trustee.

                            VI.   CLASSIFICATION OF CLAIMS AND
                          EQUITY INTERESTS; ESTIMATED RECOVERIES

                Pursuant to sections 1122 and 1123 of the Bankruptcy Code, Claims and Equity
Interests are classified for the purposes of voting and Distribution pursuant to this Combined
Disclosure Statement and Plan, as set forth herein. A Claim or Equity Interest shall be deemed
classified in a particular Class only to the extent that the Claim or Equity Interest qualifies within
the description of that Class and shall be deemed classified in a different Class to the extent that
any remainder of such Claim or Equity Interest qualifies within the description of such other Class.
Except as otherwise specifically provided for herein, the Confirmation Order or any other Order
of the Bankruptcy Court, or required by applicable bankruptcy law, in no event shall the aggregate
value of all property received or retained under the Combined Disclosure Statement and Plan on
account of an Allowed Claim exceed 100% of the underlying Allowed Claim.

               Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for the purposes of
Confirmation by acceptance of the Combined Disclosure Statement and Plan by an Impaired Class
of Claims; provided, however, that in the event no Holder of a Claim with respect to a specific
Class timely submits a Ballot in compliance with the deadline established by the Bankruptcy Court
indicating acceptance or rejection of this Combined Disclosure Statement and Plan, such Class
will be deemed to have accepted this Combined Disclosure Statement and Plan. The Debtor may
seek Confirmation of this Combined Disclosure Statement and Plan pursuant to section 1129(b)
of the Bankruptcy Code with respect to any rejecting Class of Claims or Equity Interests.

                   VII.    TREATMENT OF CLAIMS AND EQUITY INTERESTS

A.       Treatment of Claims

         1.        CLASS 1 – PRIORITY NON-TAX CLAIMS

                   a.      Classification

                   Class 1 consists of all Priority Non-Tax Claims.

                   b.      Impairment and Voting

               Class 1 is unimpaired by the Combined Disclosure Statement and Plan. The
Holders of Class 1 Claims are conclusively presumed to have accepted the Combined Disclosure
Statement and Plan and, therefore, are not entitled to vote to accept or reject the Combined
Disclosure Statement and Plan.

                   c.      Treatment

                The legal, equitable, and contractual rights of the holders of Priority Non-Tax
Claims are unaltered by the Plan. Except to the extent that a Holder of a Priority Non-Tax Claim
agrees to a less favorable or different treatment, on, or as soon as reasonably practicable after, the

                                                   41
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335     Filed 11/08/22   Page 54 of 84




later of the Effective Date or the date such Priority Non-Tax Claim becomes an Allowed Priority
Non-Tax Claim, each holder of an Allowed Priority Non-Tax Claim shall receive (i) Cash in an
amount equal to such Allowed Priority Non-Tax Claim, or (ii) such other treatment that would
render such Allowed Priority Non-Tax Claim Unimpaired.

         2.        CLASS 2 – SECURED CLAIMS

                   a.     Classification

                   Class 2 consists of Secured Claims.

                   b.     Impairment and Voting

               Class 2 is unimpaired by the Combined Disclosure Statement and Plan. Holders of
Allowed Secured Claims are conclusively presumed to have accepted the Combined Disclosure
Statement and Plan and, therefore, are not entitled to vote to accept or reject the Combined
Disclosure Statement and Plan.

                   c.     Treatment

                The legal, equitable, and contractual rights of the holders of Secured Claims are
unaltered by the Plan. Except to the extent that a holder of an Allowed Secured Claim agrees to
such other, less favorable treatment, on, or as soon as reasonably practicable after, the later of the
Effective Date, each holder of an Allowed Secured Claim shall receive (i) Cash in an amount equal
to such Allowed Secured Claim, (ii) the Debtor’s interest in the collateral securing such Holder’s
Allowed Secured Claim, or (iii) such other treatment that would render such Allowed Secured
Claim Unimpaired.

         3.        CLASS 3 – GENERAL UNSECURED CLAIMS

                   a.     Classification

                   Class 3 consists of General Unsecured Claims.

                   b.     Impairment and Voting

               Class 3 is impaired by the Combined Disclosure Statement and Plan. Holders of
Allowed General Unsecured Claims are entitled to vote to accept or reject this Combined
Disclosure Statement and Plan.

                   c.     Treatment

                Except to the extent that a holder of an Allowed General Unsecured Claim agrees
to such other, less favorable treatment, each holder of an Allowed General Unsecured Claim shall
be paid its Pro Rata share of the Net Distributable Assets in full and final satisfaction, settlement,
discharge, and release of, and in exchange for, its Allowed General Unsecured Claims.




                                                  42
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335       Filed 11/08/22   Page 55 of 84




         4.        CLASS 4a – SERIES D PREFERRED EQUITY INTERESTS

                   a.     Classification

                   Class 4a consists of all Series D Preferred Equity Interests.

                   b.     Impairment and Voting

               Class 4a is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 4a Series D Preferred Equity Interests are conclusively presumed to have voted to reject the
Combined Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan.

                   c.     Treatment

               In the event that Class 3 General Unsecured Claims are not paid in full, Holders of
Class 4a Series D Preferred Equity Interests shall not receive or retain any distribution under the
Combined Disclosure Statement and Plan on account of such Series D Preferred Equity Interests.
Series D Preferred Equity Interests shall be discharged, cancelled, released and extinguished as of
the Effective Date.

               In the event that Holders of Class 3 General Unsecured Claims are paid in full,
Holders of Class 4a Series D Preferred Equity Interests shall be paid their Pro Rata share of the
remaining Net Distributable Assets after such assets are used to pay in full the Claims of Holders
of Class 3 General Unsecured Claims, in accordance with the absolute priority rule and the terms
of this Combined Disclosure Statement and Plan. Series D Preferred Equity Interests shall be
discharged, cancelled, released and extinguished as of the Effective Date.

         5.        CLASS 4b – SERIES D 510(b) CLAIMS

                   a.     Classification

                   Class 4b consists of all Series D 510(b) Claims.

                   b.     Impairment and Voting

               Class 4b is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 4b Series D 510(b) Claims are conclusively presumed to have voted to reject the Combined
Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject the
Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 4b Series D 510(b) Claims shall not receive or retain any
distribution under the Plan on account of such Series D 510(b) Claims.




                                                    43
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335       Filed 11/08/22    Page 56 of 84




         6.        CLASS 5a – SERIES C PREFERRED EQUITY INTERESTS

                   a.     Classification

                   Class 5a consists of all Series C Preferred Equity Interests.

                   b.     Impairment and Voting

               Class 5a is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 5a Series C Preferred Equity Interests are conclusively presumed to have voted to reject the
Combined Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 5a Series C Preferred Equity Interests shall not receive or retain
any distribution under the Combined Disclosure Statement and Plan on account of such Series C
Preferred Equity Interests. Series C Preferred Equity Interests shall be discharged, cancelled,
released and extinguished as of the Effective Date.

         7.        CLASS 5b – SERIES C 510(b) CLAIMS

                   a.     Classification

                   Class 5b consists of all Series C 510(b) Claims.

                   b.     Impairment and Voting

               Class 5b is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 5b Series C 510(b) Claims are conclusively presumed to have voted to reject the Combined
Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject the
Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 5b Series C 510(b) Claims shall not receive or retain any
distribution under the Plan on account of such Series C 510(b) Claims.

         8.        CLASS 6a – SERIES B PREFERRED EQUITY INTERESTS

                   a.     Classification

                   Class 6a consists of all Series B Preferred Equity Interests.




                                                    44
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335       Filed 11/08/22   Page 57 of 84




                   b.     Impairment and Voting

               Class 6a is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 6a Series B Preferred Equity Interests are conclusively presumed to have voted to reject the
Combined Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 6a Series B Preferred Equity Interests shall not receive or retain
any distribution under the Combined Disclosure Statement and Plan on account of such Series B
Preferred Equity Interests. Series B Preferred Equity Interests shall be discharged, cancelled,
released and extinguished as of the Effective Date.

         9.        CLASS 6b – SERIES B 510(b) CLAIMS

                   a.     Classification

                   Class 6b consists of all Series B 510(b) Claims.

                   b.     Impairment and Voting

               Class 6b is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 6b Series B 510(b) Claims are conclusively presumed to have voted to reject the Combined
Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject the
Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 6b Series B 510(b) Claims shall not receive or retain any
distribution under the Plan on account of such Series B 510(b) Claims.

         10.       CLASS 7a – SERIES A PREFERRED EQUITY INTERESTS

                   a.     Classification

                   Class 7a consists of all Series A Preferred Equity Interests.

                   b.     Impairment and Voting

               Class 7a is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 7a Series A Preferred Equity Interests are conclusively presumed to have voted to reject the
Combined Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 7a Series A Preferred Equity Interests shall not receive or retain
any distribution under the Combined Disclosure Statement and Plan on account of such Series A

                                                    45
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335      Filed 11/08/22   Page 58 of 84




Preferred Equity Interests. Series A Preferred Equity Interests shall be discharged, cancelled,
released and extinguished as of the Effective Date.

         11.       CLASS 7b – SERIES A 510(b) CLAIMS

                   a.     Classification

                   Class 7b consists of all Series A 510(b) Claims.

                   b.     Impairment and Voting

               Class 7b is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 7b Series A 510(b) Claims are conclusively presumed to have voted to reject the Combined
Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject the
Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 7b Series A 510(b) Claims shall not receive or retain any
distribution under the Plan on account of such Series A 510(b) Claims.

         12.       CLASS 8a – COMMON EQUITY INTERESTS

                   a.     Classification

                   Class 8a consists of all Common Equity Interests.

                   b.     Impairment and Voting

              Class 8a is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 8a Common Equity Interests are conclusively presumed to have voted to reject the Combined
Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject the
Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 8a Common Equity Interests shall not receive or retain any
distribution under the Combined Disclosure Statement and Plan on account of such Common
Equity Interests. Common Equity Interests shall be discharged, cancelled, released and
extinguished as of the Effective Date; provided, however, that, upon the Effective Date, the Plan
Administrator shall be deemed to hold one share of common equity in the Post-Effective Date
Debtor solely for the benefit of Holders of Allowed Claims and, if entitled to a recovery in
accordance with the terms of this Combined Disclosure Statement and Plan, Allowed Equity
Interests; provided, further, that the Plan Administrator shall not be entitled to receive any
Distribution on account of such Common Equity Interest.




                                                   46
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335     Filed 11/08/22   Page 59 of 84




         13.       CLASS 8b – COMMON EQUITY 510(B) CLAIMS

                   a.     Classification

                   Class 8b consists of all Common Equity 510(b) Claims.

                   b.     Impairment and Voting

             Class 8b is Impaired by the Combined Disclosure Statement and Plan. Holders of
Class 8b Common Equity 510(b) Claims are conclusively presumed to have voted to reject the
Combined Disclosure Statement and Plan and, therefore, are not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan.

                   c.     Treatment

               Holders of Class 8b Common Equity 510(b) Claims shall not receive or retain any
distribution under the Plan on account of such Common Equity 510(b) Claims.

B.       Reservation of Rights Regarding Claims

               Except as otherwise provided in this Combined Disclosure Statement and Plan or
in other Orders of the Bankruptcy Court, nothing shall affect the rights or defenses of the Debtor
or the Plan Administrator, as applicable, whether legal or equitable, with respect to any Claim,
including all rights with respect to legal and equitable defenses to alleged rights of setoff or
recoupment.

C.       Cramdown and No Unfair Discrimination

                In the event that any impaired Class of Claims or Equity Interests rejects the
Combined Disclosure Statement and Plan or is deemed to have rejected the Combined Disclosure
Statement and Plan, the Debtor hereby requests, without any delay in the occurrence of the
Confirmation Hearing or Effective Date, that the Bankruptcy Court confirm the Combined
Disclosure Statement and Plan in accordance with section 1129(b) of the Bankruptcy Code with
respect to such non-accepting Class, in which case the Combined Disclosure Statement and Plan
shall constitute a motion for such relief.

                Confirming the Combined Disclosure Statement and Plan under such a
circumstance is what is known as a “cramdown”. Among other things, a “cramdown” is
appropriate where the Bankruptcy Court finds that it does not unfairly discriminate against the
objecting classes and is fair and equitable with respect to those objecting classes. A plan unfairly
discriminates against a class if another class of equal rank in priority will receive greater value
under the plan than the nonaccepting class without reasonable justification. A plan is fair and
equitable if no claim or interest junior to the objecting class shall receive or retain any claim or
interest under the plan.




                                                  47
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335        Filed 11/08/22   Page 60 of 84




               VIII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Rejection of Executory Contracts and Unexpired Leases

                 On the Effective Date, all Executory Contracts (including any unexpired leases)
that are (i) not assumed before the Effective Date or (ii) not subject to a pending motion to assume
or reject as of the Effective Date will be deemed rejected. The Confirmation Order shall constitute
an order approving such rejection as of the Effective Date.

B.       Indemnification Claims

                Subject to the occurrence of the Effective Date, all Allowed Claims against the
Debtor for Indemnification Obligations shall be (i) paid only to the extent that there is an applicable
D&O Insurance Policy providing insurance coverage therefor, and (ii) to the extent a Proof of
Claim has been timely filed and is Allowed, treated as Allowed General Unsecured Claims to the
extent such claims are not covered by any applicable D&O Insurance Policy providing insurance
coverage therefor, including deductibles. Nothing contained herein shall affect the rights of
directors, officers or employees under any D&O Insurance Policies or insurance coverage with
respect to Indemnification Obligations or limit the rights of the Debtor, the Plan Administrator, or
the Debtor’s Estate to object to, seek to subordinate or otherwise contest or challenge Claims,
including Claims for Indemnification Obligations, or any other rights asserted by any current or
former officer, director or employee of the Debtor pursuant to this Article VIII.B or otherwise.

                For the avoidance of any doubt, no D&O Insurance Policy shall be cancelled, and
the Debtor’s directors, officers and employees who have valid claims against the D&O Insurance
Policies for Indemnification Obligations, and who have timely filed a Proof of Claim therefor that
is Allowed, may be paid from the applicable D&O Insurance Policies to the extent of the insurance
coverage provided by the applicable D&O Insurance Policies.

C.       Deadline for Filing Proofs of Claim Relating to Executory Contracts and Unexpired
         Leases Rejected Pursuant to the Combined Disclosure Statement and Plan

                If the rejection by the Debtor of an Executory Contract (including any unexpired
lease) pursuant to the Combined Disclosure Statement and Plan gives rise to a Claim, a proof of
claim must be filed with the Claims and Noticing Agent at Redwood Liquidating Co. (f/k/a
GenapSys, Inc.) Claims Processing Center c/o Kroll Restructuring Administration LLC, 850 Third
Avenue, Suite 412, Brooklyn, NY 11232, by no later than thirty (30) days after service of the
notice of the Effective Date. Any proofs of Claim not filed and served within such time period will
be forever barred from assertion against the Debtor and its Estate. Unless otherwise Ordered by
the Bankruptcy Court, all Claims arising from the rejection of Executory Contracts and unexpired
leases shall be treated as Class 3 (General Unsecured Claims) under the Combined Disclosure
Statement and Plan. For the avoidance of doubt, any Claims arising from the rejection of an
Executory Contract (including any unexpired lease) pursuant to a separate motion are subject to
the General Bar Date or relevant Rejection Damages Bar Date, as applicable.




                                                  48
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335        Filed 11/08/22   Page 61 of 84




     IX.     IMPLEMENTATION AND EFFECT OF CONFIRMATION OF COMBINED
                      DISCLOSURE STATEMENT AND PLAN

A.         Means for Implementation of the Combined Disclosure Statement and Plan

               In addition to the provisions set forth elsewhere in the Combined Disclosure
Statement and Plan, the following shall constitute the means for implementation of the Combined
Disclosure Statement and Plan:

        1.      Funding of Liabilities and Distributions. Allowed Claims, Allowed Equity
Interests, and any amounts necessary to wind down the Debtor’s Estate shall be paid from the Net
Distributable Assets, subject to the limitations and qualifications described herein.

        2.      Corporate Action; Effectuating Documents; Further Transactions. On the Effective
Date, all matters and actions provided for under the Combined Disclosure Statement and Plan that
would otherwise require approval of the directors and officers, or members or managers of the
Debtor shall be deemed to have been authorized and effective in all respects as provided herein
and shall be taken without any requirement for further action by the directors and officers,
members and managers of the Debtor. The Debtor or the Plan Administrator, as applicable, is
authorized to execute, deliver, file or record such contracts, instruments, releases, and other
agreements or documents and to take such actions as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the Combined Disclosure Statement and Plan.

        3.      Direction to Parties. From and after the Effective Date, the Plan Administrator may
apply to the Bankruptcy Court for an order directing any necessary party to execute or deliver or
to join in the execution of delivery of any instruments required to effect a transfer of property
contemplated by or necessary to effectuate this Combined Disclosure Statement and Plan, and to
perform any other act that is necessary for the consummation of this Combined Disclosure
Statement and Plan, pursuant to section 1142(b) of the Bankruptcy Code.

        4.       Title to Accounts. Title to all of the Debtor’s bank, brokerage and other accounts
shall vest in the Post-Effective Date Debtor, effective as of the Effective Date, without any further
order of the Bankruptcy Court or further action on the party of any Person or Entity. On and after
the Effective Date, all such accounts shall be deemed to be accounts in the name of the Post-
Effective Date Debtor without any further action by any Person or Entity or any further order of
the Bankruptcy Court.

        5.       Corporate Documents and Corporate Authority. On the Effective Date, the
certificates of incorporation, bylaws, and articles of organization, as applicable, of the Debtor shall
be deemed amended to the extent necessary to carry out the provisions of the Combined Disclosure
Statement and Plan. The entry of the Confirmation Order shall constitute authorization for the
Debtor and the Plan Administrator to take or cause to be taken all actions necessary or appropriate
to implement all provisions of, and to consummate, the Combined Disclosure Statement and Plan
prior to, on, and after the Effective Date and all such actions taken or caused to be taken shall be
deemed to have been authorized and approved by the Bankruptcy Court without further approval,
act, or action under any applicable law, order, rule, or regulation. Effective as of the Effective
Date, all directors, managers, members, and officers of the Debtor shall be discharged, and all such


                                                  49
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335        Filed 11/08/22    Page 62 of 84




appointments rescinded for all purposes, without any necessity of taking any further action in
connection therewith.

        6.      Exemption from Certain Taxes. Pursuant to section 1146(a) of the Bankruptcy
Code, any transfers of property pursuant hereto shall not be subject to any stamp tax, recording
tax, personal property tax, real estate transfer tax, sales tax, use tax, privilege tax, or other similar
tax or governmental assessment in the United States, and the Confirmation Order shall direct and
be deemed to direct the appropriate federal, state or local government officials or agents to forgo
the collection of any such tax or governmental assessment and to accept for filing and recordation
instruments or other documents pursuant to such transfers of property without the payment of any
such tax or governmental assessment. Such exemption specifically applies, without limitation, to
(1) the creation of any mortgage, deed of trust, lien or other security interest; (2) the assuming and
assigning any contract, lease or sublease; (3) any transaction authorized by this Combined
Disclosure Statement and Plan; (4) any sale of an Asset by the Plan Administrator in furtherance
of the Combined Disclosure Statement and Plan, including but not limited to any sale of personal
or real property and (4) the making or delivery of any deed or other instrument of transfer under,
in furtherance of or in connection with this Combined Disclosure Statement and Plan.

             X.     PROVISIONS REGARDING THE PLAN ADMINISTRATOR

A.       Appointment of the Plan Administrator

               On the Effective Date, the Plan Administrator, who shall be selected by the Debtor,
shall be appointed and thereafter serve in accordance with this Combined Disclosure Statement
and Plan. The Plan Administrator shall not be required to give any bond or surety or other security
for the performance of its duties unless otherwise ordered by the Bankruptcy Court. As part of the
Plan Supplement, the Debtor shall identify the Plan Administrator and the material terms of the
Plan Administrator’s compensation.

B.       Rights and Powers of the Plan Administrator

                 The Plan Administrator shall, in addition to any powers and authority specifically
set forth in other provisions of the Combined Disclosure Statement and Plan, be empowered to
(i) effect all actions and execute all agreements, instruments and other documents necessary to
perform its duties under the Combined Disclosure Statement and Plan, (ii) establish, as necessary,
disbursement accounts for the deposit and distribution of all amounts distributed under the
Combined Disclosure Statement and Plan, (iii) make Distributions in accordance with the
Combined Disclosure Statement and Plan, (iv) object to Claims, as appropriate, (v) employ and
compensate professionals to represent it with respect to its responsibilities, (vi) assert any of the
Debtor’s claims, Causes of Action, rights of setoff, or other legal or equitable defenses, and
(vii) exercise such other powers as may be vested in the Plan Administrator by order of the
Bankruptcy Court, pursuant to the Combined Disclosure Statement and Plan, or as deemed by the
Plan Administrator to be necessary and proper to implement the provisions hereof.

               The Plan Administrator may take any and all actions which it deems reasonably
necessary or appropriate to defend against any Claim, including, without limitation, the right to:
(a) exercise any and all judgment and discretion with respect to the manner in which to defend


                                                   50
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 63 of 84




against or settle any Claim, including, without limitation, the retention of professionals, experts
and consultants; and (b) enter into a settlement agreement or agreements without Bankruptcy Court
approval. Upon the later of the Effective Date and the appointment of the Plan Administrator, the
Debtor will have no other officers, directors or managers.

C.         Post Effective Date Expenses of the Plan Administrator

               The Plan Administrator shall receive reasonable compensation for services
rendered pursuant to the Combined Disclosure Statement and Plan without further Bankruptcy
Court order. In addition, the amount of reasonable fees, costs, and expenses of the Plan
Administrator on or after the Effective Date (including, without limitation, reasonably attorney
and professional fees and expenses) may be paid without further Bankruptcy Court order. The
Plan Administrator shall be paid from any reserves set aside for such fees, costs, and expenses of
the Plan Administrator, as further set forth in the Plan Administrator Agreement. Any amounts
remaining in the reserves shall be distributed in accordance with the provisions of the Combined
Disclosure Statement and Plan.

D.         Plan Administrator Agreement

                   A form of the Plan Administrator Agreement shall be filed as part of the Plan
Supplement.


     XI.      PROVISIONS GOVERNING DISTRIBUTIONS UNDER THE COMBINED
                       DISCLOSURE STATEMENT AND PLAN

A.         Method of Payment

               Unless otherwise expressly agreed, in writing, all Cash payments to be made
pursuant to the Combined Disclosure Statement and Plan shall be made by check drawn on a
domestic bank or by an electronic wire transfer.

B.         Objections to and Resolution of Claims

                The Plan Administrator shall have the right to file objections and/or motions to
estimate any and all Claims after the Effective Date. The Plan Administrator shall have the
authority to compromise, settle, otherwise resolve or withdraw any objections, without approval
of the Bankruptcy Court. The Plan Administrator shall further have the authority to resolve and
settle any and all Claims without approval of the Bankruptcy Court.

                The Bankruptcy Court shall retain jurisdiction to estimate any such Claim,
including during the litigation of any objection to such Claim or during the appeal relating to such
objection. In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim,
that estimated amount shall constitute a maximum limitation on such Claim for all purposes under
this Combined Disclosure Statement and Plan (including for purposes of Distributions), and the
Plan Administrator may elect to pursue any supplemental proceedings to object to any ultimate
Distribution on such Claim.


                                                 51
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335        Filed 11/08/22   Page 64 of 84




C.       Claims Objection Deadline

                Except as otherwise set forth in Articles V.B and V.F above with respect to
Administrative Expense Claims and Professionals Claims, the Plan Administrator, and any other
party in interest to the extent permitted pursuant to section 502(a) of the Bankruptcy Code, shall
file and serve any objection to any Claims or Equity Interests no later than the Claims Objection
Deadline; provided, however, the Claims Objection Deadline may be extended by the Bankruptcy
Court from time to time upon motion and notice by the Plan Administrator.

D.       No Distribution Pending Allowance

                Notwithstanding any other provision of the Combined Disclosure Statement and
Plan, no payment or Distribution of Cash or other property shall be made with respect to any
portion of a Disputed Claim or Equity Interest unless and until all objections to such Claim or
Equity Interest are resolved by Final Order or as otherwise permitted by this Combined Disclosure
Statement and Plan.

E.       Claims Reserve

                 On any date that Distributions are to be made under the terms of the Combined
Disclosure Statement and Plan, the Plan Administrator shall (i) reserve Cash or property equal to
100% of the Cash or property that would be distributed on such date on account of Disputed Claims
as if each such Disputed Claim were an Allowed Claim but for the pendency of a dispute with
respect thereto and (ii) be authorized, but not required, to establish a reserve, in an amount to be
determined solely in the discretion of the Plan Administrator, for contingent and unliquidated
Claims, including Indemnification Obligations (the reserve, if any, for Indemnification
Obligations, the “Indemnification Reserve”). Such Cash or property, as the case may be, shall be
held in trust for the benefit of the Holders of all such Disputed Claims and, if applicable, contingent
and unliquidated Claims, including Indemnification Obligations, pending determination of their
entitlement thereto.

F.       Indemnification Reserve

               On any date that Distributions are to be made under the terms of the Combined
Disclosure Statement and Plan, the Plan Administrator shall be authorized, but not required, to
establish the Indemnification Reserve. The intent of the establishment of the Indemnification
Reserve is to permit the Plan Administrator to make Distributions to Holders of Allowed Claims
and, if applicable, Equity Interests, as promptly as practicable in accordance with the Combined
Disclosure Statement and Plan. Accordingly, the Plan Administrator shall be fully held harmless
and exculpated for the making of such Distributions even if the amount of the Indemnification
Reserve is ultimately insufficient to pay in full any or all Allowed Claims on account of
Indemnification Obligations and there are no other available Assets to pay in full any or all
Allowed Claims on account of Indemnification Obligations.

G.       Timing of Distributions

             Unless otherwise provided herein, on each Distribution Date, each Holder of an
Allowed Claim or, if applicable, Allowed Equity Interest, shall receive such Distributions that this

                                                  52
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 65 of 84




Combined Disclosure Statement and Plan provides for Allowed Claims or, if applicable, Allowed
Equity Interests, in accordance with Article VII hereof. In the event that any payment or act under
this Combined Disclosure Statement and Plan is required to be made or performed on a date that
it not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date. The Plan Administrator shall have no obligation to recognize any transfer of
Claims or Equity Interests occurring on or after the Confirmation Date.

H.       Delivery of Distributions

               Except as provided herein, Distributions to Holders of Allowed Claims or, if
applicable, Allowed Equity Interests, shall be made: (1) at the addresses set forth on the respective
proofs of Claim Filed by such Holders; (2) at the addresses set forth in any written notices of
address changes delivered to the Plan Administrator after the date of any related Proof of Claim;
or (3) at the address reflected in the Schedules if no Proof of Claim is filed and the Plan
Administrator has not received a written notice of a change of address.

               If the Distribution to the Holder of any Allowed Claim or, if applicable, Allowed
Equity Interest, is returned to the Plan Administrator as undeliverable, no further distribution shall
be made to such Holder unless and until the Plan Administrator is notified in writing of such
Holder’s then current address. Undeliverable Distributions shall remain in the possession of the
Plan Administrator until the earlier of (i) such time as a Distribution becomes deliverable or (ii)
such undeliverable Distribution becomes an Unclaimed Distribution.

               The Plan Administrator shall make reasonable efforts to update or correct contact
information for recipients of undeliverable Distributions; provided, however, nothing contained in
the Combined Disclosure Statement and Plan shall require the Plan Administrator to locate any
Holder of an Allowed Claim.

I.       Unclaimed Distributions

               Any Cash or other property to be distributed under the Combined Disclosure
Statement and Plan shall revert to the Plan Administrator or the Debtor, as applicable, if it is not
claimed by the Entity on or before the Unclaimed Distribution Deadline. If such Cash or other
property is not claimed on or before the Unclaimed Distribution Deadline, the Distribution made
to such Entity shall be deemed to be reduced to zero.

J.       De Minimis Distributions

               The Plan Administrator shall not distribute Cash to the Holder of an Allowed Claim
or, if applicable, Allowed Equity Interest, in an impaired Class if the amount of Cash to be
distributed on account of such Claim or, if applicable, Equity Interest, is less than $50.00 in the
aggregate. Any Holder of an Allowed Claim or, if applicable, Allowed Equity Interest, on account
of which the amount of Cash to be distributed is less than $50.00 in the aggregate will be forever
barred from asserting its Claim or, if applicable, Equity Interest, for such distribution against the
Plan Administrator or its property. Any Cash not distributed pursuant to this Article XI of the
Combined Disclosure Statement and Plan will be the property of the Estate.


                                                 53
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335    Filed 11/08/22   Page 66 of 84




K.       Setoff

               The Debtor or the Plan Administrator, as the case may be, retain the right, subject
to any applicable notice provisions under applicable law, to reduce any Claim by way of setoff in
accordance with their Books and Records.

L.       Postpetition Interest

               Interest shall not accrue on any Creditor’s prepetition Claims, and no Holder of a
prepetition Claim against the Debtor shall be entitled to interest accruing on or after the Petition
Date. No prepetition Claim shall be Allowed to the extent it is for postpetition interest or other
similar charges, except to the extent permitted for Holders of secured Claims under section 506(b)
of the Bankruptcy Code.

M.       Allocation of Distributions Between Principal and Interest

               For Distributions in respect of Allowed General Unsecured Claims or, if applicable,
Allowed Equity Interests, to the extent that any such Allowed Claim or Allowed Equity Interest
entitled to a Distribution under the Combined Disclosure Statement and Plan is comprised of
indebtedness and accrued but unpaid interest thereon, such Distribution shall be allocated to the
principal amount (as determined for federal income tax purposes) of the Claim or, if applicable,
Equity Interest, first, and then to accrued but unpaid interest.

N.       No Creditor to Receive More than Payment in Full

               Notwithstanding any other provision hereof, no creditor shall receive more than full
payment of its applicable Allowed Claim including any interest, costs or fees that may be payable
with respect thereto under or pursuant to the Combined Disclosure Statement and Plan.

O.       Compliance with Tax Requirements

               In connection with the Combined Disclosure Statement and Plan and all
Distributions hereunder, to the extent applicable, the Plan Administrator is authorized to take any
and all actions that may be necessary or appropriate to comply with all Tax withholding and
reporting requirements imposed by any federal, state, local or foreign taxing authority, and all
Distributions pursuant to the Combined Disclosure Statement and Plan shall be subject to any such
withholding and reporting requirements, as more fully set forth in Article XVII.J herein.

                     XII.   CONFIRMATION AND VOTING PROCEDURES

A.       Confirmation Procedure

         1.        Confirmation Hearing

               On [·], 2022, the Bankruptcy Court entered an Order [Docket No. [·]] (the
“Conditional Approval and Procedures Order”) conditionally approving the Combined Disclosure
Statement for solicitation purposes only and authorizing the Debtor to solicit acceptances of the
Combined Disclosure Statement and Plan. The Confirmation Hearing has been scheduled for [·],

                                                54
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 67 of 84




2022 at [·]:00 [a.m./p.m.] (ET) at the Bankruptcy Court, Court, 824 North Market Street, 6th Floor,
Courtroom 1, Wilmington, Delaware 19801 to consider (i) final approval of the Combined
Disclosure Statement and Plan as providing adequate information pursuant to section 1125 of the
Bankruptcy Code and (ii) confirmation of the Combined Disclosure Statement and Plan pursuant
to section 1129 of the Bankruptcy Code. The Confirmation Hearing may be adjourned from time
to time by the Debtor without further notice, except for an announcement of the adjourned date
made at the Confirmation Hearing or by Filing a notice with the Bankruptcy Court.

         2.        Procedure for Objections

               Any objection to final approval of the Combined Disclosure Statement and Plan as
providing adequate information pursuant to section 1125 of the Bankruptcy Code and/or
confirmation of the Combined Disclosure Statement and Plan must be made in writing and filed
with the Bankruptcy Court and served on (i) the Debtor, 10385 Westmoor Dr. #100, Westminster,
Colorado 80021 (Attn: Peter Swider); (ii) counsel to the Debtor, Richards, Layton & Finger, P.A.,
One Rodney Square, 920 North King Street, Wilmington, Delaware 19801 (Attn: Daniel J.
DeFranceschi, Esq. (defranceschi@rlf.com), Michael J. Merchant, Esq. (merchant@rlf.com), and
David T. Queroli, Esq. (queroli@rlf.com)); and (iii) the Office of the United States Trustee for the
District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801
(Attn: Jane Leamy, Esq. (jane.m.leamy@usdoj.gov)), in each case, by no later than [·], 2022 at
4:00 p.m. (ET). Unless an objection is timely filed and served, it may not be considered by
the Bankruptcy Court at the Confirmation Hearing.

         3.        Eligibility to Vote on the Combined Disclosure Statement and Plan

                Unless otherwise ordered by the Bankruptcy Court, only Holders of Allowed
Claims in Class 3 may vote on the Combined Disclosure Statement and Plan. Further, subject to
the tabulation procedures that were approved by the Conditional Approval and Procedures Order,
in order to vote on the Combined Disclosure Statement and Plan, you must hold an Allowed Claim
in Class 3, or be the Holder of a Claim in such Class that has been temporarily Allowed for voting
purposes only under Bankruptcy Rule 3018(a).

         4.        Solicitation Notice

               All Holders of Allowed Claims in Class 3 will receive (i) notice of the Confirmation
Hearing on the Combined Disclosure Statement and Plan (the “Confirmation Notice”) and (ii) a
form of ballot. All other Creditors and parties in interest not entitled to vote on the Combined
Disclosure Statement and Plan will only receive a copy of the Confirmation Notice.

         5.        Procedure/Voting Deadlines

                In order for your ballot to count, you must either (1) complete an electronic ballot
at https://cases.ra.kroll.com/genapsys/ or (2) complete, date, sign and properly mail, courier or
personally deliver a paper ballot to the Claims and Noticing Agent at the following address:
Redwood Liquidating Co. (f/k/a GenapSys, Inc.) Ballot Processing Center c/o Kroll Restructuring
Administration LLC, 55 East 52nd Street, 17th Floor New York, NY 10055. BALLOTS SENT BY
FACSIMILE TRANSMISSION OR E-MAIL ARE NOT ALLOWED AND WILL NOT BE
COUNTED.

                                                  55
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335        Filed 11/08/22   Page 68 of 84




               Ballots must be submitted electronically, or the Claims and Noticing Agent must
physically receive original ballots by mail or overnight delivery, on or before [·], 2022 at 5:00
p.m. (prevailing Eastern Time). Subject to the tabulation procedures approved by the
Conditional Approval and Procedures Order, you may not change your vote once a ballot is
submitted electronically or the Claims and Noticing Agent receives your original paper ballot.

               Subject to the tabulation procedures approved by the Conditional Approval and
Procedures Order, any ballot that is timely and properly submitted electronically or received
physically will be counted and will be deemed to be cast as an acceptance, rejection or abstention,
as the case may be, of the Combined Disclosure Statement and Plan.

         6.        Acceptance of the Combined Disclosure Statement and Plan

               As a Creditor, your acceptance of the Combined Disclosure Statement and Plan is
important. In order for the Combined Disclosure Statement and Plan to be accepted by an impaired
Class of Claims, a majority in number (i.e., more than half) and at least two-thirds in dollar amount
of the Claims voting (of each impaired Class of Claims) must vote to accept the Combined
Disclosure Statement and Plan. At least one impaired Class of Creditors, excluding the votes of
insiders, must actually vote to accept the Combined Disclosure Statement and Plan. The Debtor
urges that you vote to accept the Combined Disclosure Statement and Plan. YOU ARE URGED
TO COMPLETE, DATE, SIGN AND PROMPTLY SUBMIT YOUR BALLOT. PLEASE
BE SURE TO COMPLETE THE BALLOT PROPERLY AND LEGIBLY IDENTIFY THE
EXACT AMOUNT OF YOUR CLAIM AND THE NAME OF THE CREDITOR.

         7.        Elimination of Vacant Classes

              Any Class of Claims or Equity Interests that does not contain, as of the date of
commencement of the Confirmation Hearing, a Holder of an Allowed Claim or Equity Interest, or
a Holder of a Claim temporarily allowed under Bankruptcy Rule 3018, shall be deemed deleted
from the Combined Disclosure Statement and Plan for all purposes, including for purposes of
determining acceptance of the Combined Disclosure Statement and Plan by such Class under
Section 1129(a)(8) of the Bankruptcy Code.

B.       Statutory Requirements for Confirmation

                The Bankruptcy Court will confirm the Combined Disclosure Statement and Plan
only if it meets all the applicable requirements of section 1129 of the Bankruptcy Code. Among
other requirements, the Combined Disclosure Statement and Plan (i) must be accepted by all
Impaired Classes of Claims and Equity Interests or, if rejected by an impaired Class, the Combined
Disclosure Statement and Plan must not “discriminate unfairly” against and be “fair and equitable”
with respect to such Class; and (ii) must be feasible. The Bankruptcy Court must also find that:

              a.    the Combined Disclosure Statement and Plan has classified Claims and Equity
                    Interests in a permissible manner;

              b.    the Combined Disclosure Statement and Plan complies with the technical
                    requirements of chapter 11 of the Bankruptcy Code; and


                                                   56
RLF1 28213990v.1
               Case 22-10621-BLS           Doc 335        Filed 11/08/22   Page 69 of 84




              c.    the Combined Disclosure Statement and Plan has been proposed in good faith.

         1.        Classification of Claims and Equity Interests

                 Section 1122 of the Bankruptcy Code requires the Combined Disclosure Statement
and Plan to place a Claim or Equity Interest in a particular Class only if such Claim or Equity
Interest is substantially similar to the other Claims or Equity Interests in such class. The Combined
Disclosure Statement and Plan creates separate Classes to deal respectively with secured Claims,
unsecured Claims and Equity Interests. The Debtor believes that the Combined Disclosure
Statement and Plan’s classifications place substantially similar Claims or Equity Interests in the
same Class and thus, meet the requirements of section 1122 of the Bankruptcy Code.

         2.        Impaired Claims or Equity Interests

                Pursuant to section 1126 of the Bankruptcy Code, only the Holders of Claims in
Classes impaired by the Combined Disclosure Statement and Plan and receiving a payment or
Distribution under the Combined Disclosure Statement and Plan may vote on the Combined
Disclosure Statement and Plan. Pursuant to section 1124 of the Bankruptcy Code, a Class of
Claims may be Impaired if the Combined Disclosure Statement and Plan alters the legal, equitable
or contractual rights of the Holders of such Claims or Equity Interests treated in such Class. The
Holders of Claims in Classes not impaired by the Combined Disclosure Statement and Plan are
deemed to accept the Combined Disclosure Statement and Plan and do not have the right to vote
on the Combined Disclosure Statement and Plan. The Holders of Claims or Equity Interests in
any Class which will not receive any payment or Distribution or retain any property pursuant to
the Combined Disclosure Statement and Plan are deemed to reject the Combined Disclosure
Statement and Plan and do not have the right to vote. Finally, the Holders of Claims or Equity
Interests whose Claims or Equity Interests are not classified under the Combined Disclosure
Statement and Plan are not entitled to vote on the Combined Disclosure Statement and Plan.

         3.        Best Interest of Creditors Test

                Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an
Impaired Claim or Equity Interest either (a) accept the Combined Disclosure Statement and Plan
or (b) receive or retain under the Combined Disclosure Statement and Plan property of a value, as
of the Effective Date, that is not less than the value such Holder would receive if the Debtor were
liquidated under chapter 7 of the Bankruptcy Code.

                To calculate the probable distribution to Holders of each Impaired Class of Claims
and Equity Interests if the Debtor were liquidated under Chapter 7, the Bankruptcy Court must
first determine the aggregate dollar amount that would be generated from the Debtor’s Assets if
the Chapter 11 Case were converted to Chapter 7 cases under the Bankruptcy Code. Because the
Plan is a liquidating plan, the “liquidation value” in the hypothetical Chapter 7 liquidation analysis
for purposes of the “best interests” test is substantially similar to the estimates of the results of the
Chapter 11 liquidation contemplated by the Plan. The Debtor believes, however, that in a Chapter
7 liquidation, there would be additional costs and expenses that would be incurred as a result of
the ineffectiveness associated with replacing existing management and professionals in a Chapter
7 case.


                                                     57
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335     Filed 11/08/22   Page 70 of 84




                To make these findings, the Bankruptcy Court must (a) estimate the cash liquidation
proceeds that a Chapter 7 trustee would generate if the Debtor’s Chapter 11 Case were converted
to a Chapter 7 case and the Assets of the Debtor’s Estate were liquidated; (b) determine the
liquidation distribution that each non-accepting Holder of a Claim or Equity Interest would receive
from such liquidation proceeds under the priority scheme dictated in Chapter 7; and (c) compare
such Holder’s liquidation distribution to the distribution under the Plan that such Holder would
receive if the Plan were confirmed and consummated.

               Costs of liquidation under Chapter 7 of the Bankruptcy Code would include the
compensation of a Chapter 7 trustee, as well as compensation of counsel and other professionals
retained by the Chapter 7 trustee, all unpaid expenses incurred by the Debtor in its Chapter 11
Case (such as compensation of attorneys, financial advisors and accountants that are allowed in
the Chapter 7 case), litigation costs, and claims arising from the operations of the Debtor during
the pendency of the Chapter 11 Case. The “learning curve” that the Chapter 7 trustee and new
professionals would be faced with comes with potentially additional costs to the Estate and with a
delay compared to the time of Distributions under the Combined Disclosure Statement and Plan.

The Debtor believes that anticipated recoveries to each Class of Impaired Claims under the Plan
implies a greater or equal recovery to Holders of Claims in Impaired Classes than the recovery
available in a chapter 7 liquidation. Accordingly, the Debtor believes that the “best interests” test
of section 1129 of the Bankruptcy Code is satisfied.

         4.        Liquidation Analysis

                The Debtor has liquidated substantially all of its Assets through the Sale to
Sequencing Health as provided in the Asset Purchase Agreement and approved by the Sale Order.
The Debtor believes that liquidation under Chapter 11 is more beneficial to the Holders of Claims
than a liquidation under Chapter 7 because the Combined Disclosure Statement and Plan allows
the Debtor’s Net Distributable Assets to be promptly administered by the Plan Administrator to
Impaired Creditors.

                As set forth in the Liquidation Analysis, if the Chapter 11 Case were to be converted
to a Chapter 7 case, the proceeds from the Sale would remain unchanged, but the Debtor would
incur the additional costs of a Chapter 7 trustee, as well as the costs of counsel and other
professionals retained by the Chapter 7 trustee. These costs would reduce potential distribution to
Allowed Impaired Claims on a dollar-for-dollar basis. Conversion also would likely delay the
liquidation process and the ultimate distribution, if any, to unsecured creditors. Accordingly, the
Debtor believes that Holders of Allowed Claims or, if applicable, Equity Interests, would receive
less than anticipated under the Combined Disclosure Statement and Plan if the Chapter 11 Case
were converted to a Chapter 7 case.

         5.        Feasibility

                Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan
not be likely to be followed by the liquidation, or the need for further financial reorganization, of
the Debtor or any successor to the Debtor (unless such liquidation or reorganization is proposed in
the Combined Disclosure Statement and Plan). Because the Combined Disclosure Statement and

                                                 58
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22   Page 71 of 84




Plan proposes a liquidation of all of the Debtor’s assets, for purposes of this test, the Debtor has
analyzed the ability of the Plan Administrator to meet its obligations under the Combined
Disclosure Statement and Plan. Based on the Debtor’s analysis, the Plan Administrator will have
sufficient assets to accomplish its tasks under the Combined Disclosure Statement and Plan.
Therefore, the Debtor believes that the liquidation pursuant to the Combined Disclosure Statement
and Plan will meet the feasibility requirements of the Bankruptcy Code.

                        XIII. CONDITIONS TO THE EFFECTIVE DATE

A.       Conditions Precedent to the Effective Date

                The Combined Disclosure Statement and Plan shall not become effective unless
and until the following conditions shall have been satisfied or waived:

        1.     The Confirmation Order shall have become a Final Order and shall be acceptable
to the Debtor.

       2.     All actions and all agreements, instruments, or other documents necessary to
implement the terms and provisions of the Combined Disclosure Statement and Plan are effected
or executed and delivered, as applicable.

       3.          The Plan Administrator shall be duly appointed, qualified and acting in that
capacity.

       4.      The Professional Fee Reserve is funded pursuant to Section V.F.2 of the Combined
Disclosure Statement and Plan.

B.       Establishing the Effective Date

                The calendar date to serve as the Effective Date shall be a Business Day of, on or
promptly following the satisfaction or waiver of all conditions to the Effective Date, which date
will be selected by the Debtor. On or within two (2) Business Days of the Effective Date, the
Debtor shall file and serve a notice of occurrence of the Effective Date. Such notice shall contain,
among other things, the Administrative Expense Bar Date, the deadline by which Professionals
must file and serve any Professional Claims and the deadline to file a proof of claim relating to
damages from the rejection of any Executory Contract (including any unexpired lease) pursuant to
the terms of the Combined Disclosure Statement and Plan.

C.       Effect of Failure of Conditions

                 If each condition to the Effective Date has not been satisfied or duly waived within
sixty (60) days after the Confirmation Date, then upon motion by any party in interest, made before
the time that each of the conditions has been satisfied or duly waived and upon notice to such
parties in interest as the Bankruptcy Court may direct, the Confirmation Order may be vacated by
the Bankruptcy Court; provided, however, that notwithstanding the filing of such motion, the
Confirmation Order shall not be vacated if each of the conditions to the Effective Date is either
satisfied or duly waived by the Debtor before any Order granting such relief becomes a Final


                                                 59
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335        Filed 11/08/22    Page 72 of 84




Order. If the Confirmation Order is vacated pursuant to this section, the Combined Disclosure
Statement and Plan shall be deemed null and void in all respects and nothing contained herein shall
(A) constitute a waiver or release of any Claims by or against the Debtor, or (B) prejudice in any
manner the rights of the Debtor.

D.       Waiver of Conditions to Confirmation and Effective Date

               Each of the conditions to the Effective Date may be waived, in whole or in part, by
the Debtor, without notice or an Order of the Bankruptcy Court.

                   XIV. EXCULPATION, RELEASES AND INJUNCTIONS

A.       Exculpation. The Exculpated Parties shall not have or incur, and are hereby released from,
any claim, Claim, Cause of Action, obligation, suit, judgment, damages, debt, right, remedy or
liability to one another or to any Holder of any Claim or Equity Interest, or any other party-in-
interest, or any of their respective Related Parties, for any act or omission originating or occurring
on or after the Petition Date through and including the Effective Date in connection with, relating
to, or arising out of the Chapter 11 Case, including, but not limited to, the Sale and the Asset
Purchase Agreement, the negotiation and Filing of this Combined Disclosure Statement and Plan,
the Filing of the Chapter 11 Case, the settlement of Claims or renegotiation of Executory Contracts,
the pursuit of confirmation of this Combined Disclosure Statement and Plan, the consummation
of this Combined Disclosure Statement and Plan, or the administration of this Combined
Disclosure Statement and Plan or the property to be distributed under this Combined Disclosure
Statement and Plan, except for their willful misconduct or gross negligence or any obligations that
they have under or in connection with this Combined Disclosure Statement and Plan or the
transactions contemplated in this Combined Disclosure Statement and Plan; provided, however,
that for the avoidance of doubt, Exculpated Parties shall not include any Excluded Parties. Nothing
herein shall prevent any Exculpated Party from asserting as a defense to any claim of fraud, willful
misconduct or gross negligence that they reasonably relied upon the advice of counsel with respect
to their duties and responsibilities under the Combined Disclosure Statement and Plan or
otherwise.

B.      Releases By the Debtor. Effective as of the Effective Date, for good and valuable
consideration, the adequacy of which is hereby confirmed, the Debtor, its Estate, and the Debtor’s
successors and assigns, shall be deemed to, completely, conclusively, absolutely, unconditionally,
irrevocably and forever release, waive, void and extinguish the Released Parties from any claim,
Claim, Cause of Action, obligation, suit, judgment, damages, debt, right, remedy or liability,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising in law, equity,
or otherwise, for any act or omission (i) that took place prior to, on or after the Petition Date
relating to and/or in connection with the Debtor, and/or (ii), relating to, or arising out of the Chapter
11 Case, including, but not limited to, the Sale and the Asset Purchase Agreement, the negotiation
and Filing of this Combined Disclosure Statement and Plan, the Filing of the Chapter 11 Case,
including, but not limited to, the settlement of Claims or renegotiation of Executory Contracts, the
pursuit of confirmation of this Combined Disclosure Statement and Plan, the consummation of
this Combined Disclosure Statement and Plan, or the administration of this Combined Disclosure
Statement and Plan or the property to be distributed under this Combined Disclosure Statement
and Plan; provided, however, that for the avoidance of doubt, the Debtor is not releasing any

                                                   60
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 73 of 84




Claims or Causes of Action against any Excluded Parties. For the avoidance of doubt, the Debtor
and Sequencing Health are not releasing any claims they have or may have pursuant to the Asset
Purchase Agreement and/or the TSA.

C.      Third Party Releases. Effective as of the Effective Date, for good and valuable
consideration, the adequacy of which is hereby confirmed, the Releasing Parties shall be deemed
to, completely, conclusively, absolutely, unconditionally, irrevocably and forever release, waive,
void and extinguish the Released Parties from any claim, Claim, Cause of Action, obligation, suit,
judgment, damages, debt, right, remedy or liability, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising in law, equity, or otherwise, for any act or omission (i)
that took place prior to, on or after the Petition Date relating to and/or in connection with the
Debtor, and/or (ii) in connection with, relating to, or arising out of the Chapter 11 Case, including,
but not limited to, the Sale and the Asset Purchase Agreement, the negotiation and Filing of this
Combined Disclosure Statement and Plan, the Filing of the Chapter 11 Case, the settlement of
Claims or renegotiation of Executory Contracts, the pursuit of confirmation of this Combined
Disclosure Statement and Plan, the consummation of this Combined Disclosure Statement and
Plan, or the administration of this Combined Disclosure Statement and Plan or the property to be
Distributed under this Combined Disclosure Statement and Plan; provided, however, that the
foregoing provisions shall not operate to waive or release any Causes of Action resulting from any
act or omission constituting actual fraud, willful misconduct, or gross negligence of such
applicable Released Party as determined by a Final Order; provided further, however, that
notwithstanding anything to the contrary in the Combined Disclosure Statement and Plan, the
provisions of this Article XIV.C. shall not apply with respect to any unimpaired Claim until such
unimpaired Claim has been paid in full in the Allowed amount of such Claim determined in
accordance with applicable law, or on terms agreed to between the holder of such Claim and the
Plan Administrator or the Post-Effective Date Debtor, at which time this Article XIV.C. shall apply
in all respects as to the applicable unimpaired Claim; provided, further however, that for the
avoidance of doubt, nothing contained in this Article XIV.C shall result in the Released Parties
releasing any Claims or Causes of Action against any Excluded Parties. For the avoidance of doubt,
the Debtor and Sequencing Health are not releasing any claims they have or may have pursuant to
the Asset Purchase Agreement and/or the TSA.

D.      Injunctions Relating to Releases. Effective as of the Effective Date, all Persons that hold,
have held or may hold a claim, Claim, Cause of Action, obligation, suit, judgment, damages, debt,
right, remedy or liability of any nature whatsoever, that is released pursuant to this Combined
Disclosure Statement and Plan, shall be permanently, forever and completely stayed, restrained,
prohibited, barred and enjoined from taking any of the following actions, whether directly or
indirectly, individually, jointly, collectively, derivatively or otherwise, on account of or based on
the subject matter of such released claims, Claims, Causes of Action, obligations, suits, judgments,
damages, debts, rights, remedies or liabilities, (i) commencing, conducting or continuing in any
manner, directly or indirectly, any suit, action or other proceeding (including, without limitation,
any judicial, arbitral, administrative or other proceeding) in any forum, (ii) enforcing, attaching
(including, without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order, (iii) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any lien, (iv) setting off (except to the extent such
setoff was exercised prior to the Petition Date), seeking reimbursement or contributions from, or
subrogation against, or otherwise recouping in any manner, directly or indirectly, any amount

                                                 61
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 74 of 84




against any liability or obligation owed to any Person released under this Combined Disclosure
Statement and Plan, and (v) commencing or continuing in any manner, in any place of any judicial,
arbitration or administrative proceeding in any forum, that does not comply with or is inconsistent
with the provisions of the Combined Disclosure Statement and Plan or the Confirmation Order.

E.      Injunctions to Protect Estate Assets. All Entities who have held, hold or may hold
Claims against or Equity Interests in the Debtor shall be permanently enjoined from taking any of
the following actions against the Debtor (but solely to the extent such action is brought against the
Debtor to directly or indirectly recover upon any Assets of the Estate, including, without limitation,
any such Assets that vest in the Debtor or Post-Effective Date Debtor, as applicable, upon the
Effective Date), the Debtor’s Estate, the Debtor’s successors, the Post-Effective Date Debtor, the
Plan Administrator or any of their property on account of any such Claims or Equity Interests: (i)
commencing or continuing, in any manner or in any place, any action, Cause of Action or other
proceeding; (ii) enforcing, attaching, collecting, or recovering in any manner any judgment, award,
decree or Order; (iii) creating, perfecting, or enforcing any Lien; (iv) asserting a setoff (except to
the extent such setoff was exercised prior to the Petition Date), right of subrogation, or recoupment
of any kind against any debt, liability, or obligation due to the Debtor; and (v) commencing or
continuing, in any manner or in any place, any action, Cause of Action or other proceeding that
does not comply with or is inconsistent with the provisions of the Combined Disclosure Statement
and Plan.

      XV.      CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

THE COMBINED DISCLOSURE STATEMENT AND PLAN AND ITS IMPLEMENTATION
ARE SUBJECT TO CERTAIN RISKS, INCLUDING, BUT NOT LIMITED TO, THE RISK
FACTORS SET FORTH BELOW. HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE
ON THE COMBINED DISCLOSURE STATEMENT AND PLAN SHOULD READ AND
CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
INFORMATION SET FORTH IN THE COMBINED DISCLOSURE STATEMENT AND PLAN
AND THE DOCUMENTS DELIVERED TOGETHER HEREWITH OR REFERRED TO OR
INCORPORATED BY REFERENCE HEREIN, BEFORE DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE COMBINED DISCLOSURE STATEMENT AND PLAN.
THESE FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE COMBINED DISCLOSURE
STATEMENT AND PLAN AND ITS IMPLEMENTATION.

A.       General Bankruptcy Law and Combined Disclosure Statement and Plan
         Considerations

         1.        The Combined Disclosure Statement and Plan May Not Be Accepted

                The Debtor can make no assurances that the requisite acceptances to the Combined
Disclosure Statement and Plan will be received, and the Debtor may need to obtain acceptances to
an alternative plan of liquidation for the Debtor, or otherwise, may be forced to liquidate under
chapter 7 of the Bankruptcy Code. There can be no assurance that the terms of any such alternative
restructuring arrangement or plan would be similar to or as favorable to Holders of Allowed Claims



                                                 62
RLF1 28213990v.1
               Case 22-10621-BLS         Doc 335       Filed 11/08/22   Page 75 of 84




or, if applicable, Allowed Equity Interests, as those proposed in the Combined Disclosure
Statement and Plan.

         2.        Debtor May Not Be Able to Secure Confirmation of the Combined Disclosure
                   Statement and Plan or Confirmation May be Delayed

                Even if the Debtor receives the requisite acceptances, there is no assurance that the
Bankruptcy Court, which may exercise substantial discretion as a court of equity, will confirm the
Combined Disclosure Statement and Plan. Even if the Bankruptcy Court determined that the
Combined Disclosure Statement and Plan and the balloting procedures and results were
appropriate, the Bankruptcy Court could still decline to confirm the Combined Disclosure
Statement and Plan if it finds that any of the statutory requirements for confirmation had not been
met. Moreover, there can be no assurance that modifications to the Combined Disclosure
Statement and Plan will not be required for confirmation or that such modifications would not
necessitate the resolicitation of votes. If the Combined Disclosure Statement and Plan is not
confirmed, it is unclear what distributions Holders of Allowed Claims or, if applicable, Allowed
Equity Interests, ultimately would receive with respect to their Claims in a subsequent plan of
liquidation.

         3.        Risk Affecting Potential Recoveries of Holders of Claims in Voting Classes

                Projected Distributions are based upon good faith estimates of the total amount of
Claims and Equity Interests ultimately Allowed and the Net Distributable Assets available for
Distribution. There can be no assurance that the estimated Claim and Equity Interest amounts set
forth in the Combined Disclosure Statement and Plan are correct. These estimated amounts are
based on certain assumptions with respect to a variety of factors. Both the actual amount of
Allowed Claims or Equity Interests in a particular Class and the Net Distributable Assets available
for Distribution may differ from the Debtor’s estimates. If the total amount of Allowed Claims or
Allowed Equity Interests in a Class is higher than the Debtor’s estimates, or the funds available
for Distribution to such Class are lower than the Debtor’s estimates, the percentage recovery to
Holders of Allowed Claims or, if applicable, Allowed Equity Interests, in such Class will be less
than projected.

         4.        Failure to Consummate the Combined Disclosure Statement and Plan

               The Combined Disclosure Statement and Plan provides for certain conditions that
must be satisfied (or waived) prior to confirmation and for certain other conditions that must be
satisfied (or waived) prior to the Effective Date. As of the date of the Combined Disclosure
Statement and Plan, there can be no assurance that any or all of the conditions in the Combined
Disclosure Statement and Plan will be satisfied (or waived). Accordingly, there can be no
assurance that the Combined Disclosure Statement and Plan will be confirmed by the Bankruptcy
Court. Further, if the Combined Disclosure Statement and Plan is confirmed, there can be no
assurance that the Combined Disclosure Statement and Plan go effective.

         5.        Plan Releases May Not Be Approved



                                                  63
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22   Page 76 of 84




               There can be no assurance that the releases, as provided in Article XIV.C of the
Combined Disclosure Statement and Plan, will be granted. Failure of the Bankruptcy Court to
grant such relief may result in a plan of liquidation that differs from the Combined Disclosure
Statement and Plan or the Combined Disclosure Statement and Plan not being confirmed.

B.       Risks Associated with Forward Looking Statements

                The financial information contained in this Combined Disclosure Statement and
Plan has not been audited. In preparing this Combined Disclosure Statement and Plan, the Debtor
relied on financial data derived from its Books and Records that was available at the time of such
preparation. Although the Debtor has used its reasonable business judgment to ensure the accuracy
of the financial information provided in this Combined Disclosure Statement and Plan, and while
the Debtor believes that such financial information fairly reflects the financial condition of the
Debtor, the Debtor is unable to warrant or represent that the financial information contained herein
and attached hereto is without inaccuracies.

C.       Alternatives to Confirmation and Consummation of the Combined Disclosure
         Statement and Plan

                The Debtor believes that the Combined Disclosure Statement and Plan affords the
Holders of Claims the potential for a better realization on the Debtor’s assets than a Chapter 7
liquidation, and therefore, is in the best interests of such Holders. If, however, the Combined
Disclosure Statement and Plan is not confirmed, the theoretical alternatives include (a) formulation
of an alternative plan or plans of liquidation under chapter 11, or (b) liquidation of the Debtor
under chapter 7 of the Bankruptcy Code. Each of these possibilities is discussed in turn below.

         1.        Alternative Plan(s) of Liquidation

                If the requisite acceptances are not received or if the Combined Disclosure
Statement and Plan is not confirmed, the Debtor could attempt to formulate and propose a different
plan or plans of liquidation. With respect to an alternative liquidation plan, the Debtor has explored
various other alternatives in connection with the development and formulation of the Combined
Disclosure Statement and Plan. The Debtor believes that the Combined Disclosure Statement and
Plan enables creditors to realize the greatest possible value under the circumstances, and that, as
compared to any alternative plan of liquidation, has the greatest chance to be confirmed and
consummated.

         2.        Liquidation under Chapter 7

               If the Combined Disclosure Statement and Plan is not confirmed, the Debtor’s
Chapter 11 Case could be converted to a liquidation case under chapter 7 of the Bankruptcy Code.
In a case under Chapter 7 of the Bankruptcy Code, a trustee would be appointed to promptly
liquidate the assets of the Debtor. It is impossible to predict precisely how the proceeds of the
liquidation would be distributed to the respective Holders of Claims against the Debtor. The
Debtor believes that in a liquidation under Chapter 7 of the Bankruptcy Code, before creditors
received any distributions, additional administrative expenses involved in the appointment of a
trustee and attorneys, accountants, and other professionals to assist such trustee, would cause a

                                                   64
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335       Filed 11/08/22   Page 77 of 84




substantial diminution in the value of the estate. The assets available for distribution to Holders
of Claims or, if applicable, Equity Interests, would be reduced by such additional expenses.

                   XVI. CERTAIN FEDERAL INCOME TAX CONSEQUENCES

                The confirmation and execution of the Combined Disclosure Statement and Plan
may have tax consequences to Holders of Claims and Equity Interests. The Debtor does not offer
an opinion as to any federal, state, local or other tax consequences to Holders of Claims and Equity
Interests as a result of the confirmation of the Combined Disclosure Statement and Plan. All
Holders of Claims and Equity Interests are urged to consult their own tax advisors with respect to
the federal, state, local and foreign tax consequences of the Combined Disclosure Statement and
Plan. The Combined Disclosure Statement and Plan is not intended, and should not be construed,
as legal or tax advice to any Creditor, Holder of Equity Interests or other party interest.

                          XVII. RETENTION OF JURISDICTION

                Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, following the Effective Date, the Bankruptcy Court shall retain such jurisdiction
over the Chapter 11 Case as is legally permissible, including, without limitation, such jurisdiction
as is necessary to ensure that the interests and purposes of the Combined Disclosure Statement and
Plan are carried out. The Bankruptcy Court shall have exclusive jurisdiction of all matters arising
out of the Chapter 11 Case and the Combined Disclosure Statement and Plan pursuant to, and for
the purposes of, sections 105(a) and 1142 of the Bankruptcy Code and for, among other things,
the following purposes:

       1.     To hear and determine any objections to Claims and to address any issues relating
to Disputed Claims;

       2.    To enter and implement such Orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, modified or vacated;

       3.      To issue such Orders in aid of execution and consummation of the Combined
Disclosure Statement and Plan, to the extent authorized by section 1142 of the Bankruptcy Code;

       4.     To consider any amendments to or modifications of the Combined Disclosure
Statement and Plan, to cure any defect or omission, or reconcile any inconsistency in any Order of
the Bankruptcy Court, including, without limitation, the Confirmation Order;

       5.     To hear and determine all requests for compensation and reimbursement of
expenses to the extent Allowed by the Bankruptcy Court under section 330 or 503 of the
Bankruptcy Code;

      6.     To hear and determine disputes arising in connection with the interpretation,
implementation or enforcement of the Combined Disclosure Statement and Plan;

       7.    To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including, without

                                                65
RLF1 28213990v.1
               Case 22-10621-BLS          Doc 335       Filed 11/08/22    Page 78 of 84




limitation, any request by the Debtor or the Plan Administrator for an expedited determination of
tax under section 505(b) of the Bankruptcy Code);

         8.        To hear any other matter not inconsistent with the Bankruptcy Code;

         9.        To enter a final decree closing the Chapter 11 Case;

      10.     To ensure that Distributions to Holders of Allowed Claims or, if applicable,
Allowed Equity Interests, are accomplished pursuant to the provisions of the Combined Disclosure
Statement and Plan;

       11.    To decide or resolve any motions, adversary proceedings, contested or litigated
matters and any other matters and grant or deny any applications involving the Debtor that may be
pending on the Effective Date;

       12.     To issue injunctions, enter and implement other Orders or take such other actions
as may be necessary or appropriate to restrain interference by any Person or Entity with the
occurrence of the Effective Date or enforcement of the Combined Disclosure Statement and Plan,
except as otherwise provided herein;

      13.     To determine any other matters that may arise in connection with or related to the
Combined Disclosure Statement and Plan, the Disclosure Statement, the Confirmation Order or
any contract, instrument, release, indenture or other agreement or document created or
implemented in connection with the Combined Disclosure Statement and Plan or the Disclosure
Statement;

        14.    To hear any disputes and determine any other matters that may arise in connection
with or related to the Sale Order and the Asset Purchase Agreement, or any contract, instrument,
release, indenture or other agreement or document created or implemented in connection with the
Sale Order and the Asset Purchase Agreement;

        15.     To enforce, interpret, and determine any disputes arising in connection with any
stipulations, orders, judgments, injunctions, exculpations, and rulings entered in connection with
the Chapter 11 Case (whether or not the Chapter 11 Case has been closed);

       16.     To resolve disputes concerning any reserves with respect to Disputed Claims or the
administration thereof;

        17.    To resolve any disputes concerning whether a Person or Entity had sufficient notice
of the Chapter 11 Case, the General Bar Date, the Governmental Bar Date, the Rejection Bar Date,
the Amended Schedules Bar Date, the Administrative Expense Bar Date, and/or the conditional or
final hearing on the approval of the Combined Disclosure Statement and Plan for the purpose of
determining whether a Claim, or Equity Interest is released, satisfied and/or enjoined hereunder or
for any other purpose; and




                                                   66
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335      Filed 11/08/22   Page 79 of 84




       18.    To resolve any other matter or for any purpose specified in the Combined
Disclosure Statement and Plan, the Confirmation Order, or any other document entered into in
connection with any of the foregoing.

                         XVIII. MISCELLANEOUS PROVISIONS

A.       Books and Records

              As set forth in the Asset Purchase Agreement, the Debtor shall retain a copy of all
Books and Records solely to facilitate the Debtor’s administration of its Chapter 11 Case and wind
down its business related to the Excluded Assets.

                On the Effective Date, the Debtor’s Books and Records that remain with the Estate
as of the Effective Date shall be transferred to the Plan Administrator, and the Plan Administrator
shall be bound by the terms of the Asset Purchase Agreement and the Sale Order with respect to
the maintenance and disposal of the Books and Records.

B.       Revesting of Debtor’s Assets

               Except as otherwise provided herein, any assets that are property of the Debtor’s
Estate on the Effective Date including, without limitation, any Causes of Action, shall revest in
the Post-Effective Date Debtor on the Effective Date. Thereafter, subject to the terms of the
Combined Disclosure Statement and Plan, the Post-Effective Date Debtor (through the Plan
Administrator) may operate pursuant to the terms of the Plan Administrator Agreement and may
use, acquire, and dispose of such property free of any restrictions of the Bankruptcy Code, the
Bankruptcy Rules, or Bankruptcy Court approval. Except as specifically provided in the Combined
Disclosure Statement and Plan or the Confirmation Order, as of the Effective Date, all property of
the Debtor shall be free and clear of any liens, Claims, encumbrances and interests of any kind.

C.       Termination of Injunctions or Stays

               Unless otherwise provided herein or in the Confirmation Order, all injunctions or
stays provided for in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code or
otherwise, and extant on the Confirmation Date, shall remain in full force and effect.

D.       Amendment or Modification of the Combined Disclosure Statement and Plan

                Alterations, amendments or modifications of the Combined Disclosure Statement
and Plan may be proposed in writing by the Debtor, at any time before the Confirmation Date;
provided that the Combined Disclosure Statement and Plan, as altered, amended or modified,
satisfies the conditions of sections 1122 and 1123 of the Bankruptcy Code, and the Debtor shall
have complied with section 1125 of the Bankruptcy Code. Additionally, after the Confirmation
Date, the Debtor may, upon order of the Bankruptcy Court, amend or modify the Combined
Disclosure Statement and Plan, in accordance with section 1127(b) of the Bankruptcy Code,
remedy any defect or omission, or reconcile any inconsistency in the Combined Disclosure
Statement and Plan in such manner as may be necessary to carry out the purpose and intent of the
Combined Disclosure Statement and Plan consistent with the terms set forth herein.


                                                67
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335       Filed 11/08/22   Page 80 of 84




E.       Severability

               In the event the Bankruptcy Court determines, before the Confirmation Date, that
any provision in the Combined Disclosure Statement and Plan is invalid, void or unenforceable,
such provision shall be invalid, void or unenforceable with respect to the Holder or Holders of
such Claims or Equity Interest as to which the provision is determined to be invalid, void or
unenforceable. The invalidity, voidability or unenforceability of any such provision shall in no
way limit or affect the enforceability and operative effect of any other provision of the Combined
Disclosure Statement and Plan.

F.       Revocation or Withdrawal of the Combined Disclosure Statement and Plan

               The Debtor reserves the right to revoke or withdraw the Combined Disclosure
Statement and Plan before the Confirmation Date. If the Debtor revokes or withdraws the
Combined Disclosure Statement and Plan before the Confirmation Date, then the Combined
Disclosure Statement and Plan shall be deemed null and void. In such event, nothing contained
herein shall constitute or be deemed a waiver or release of any Claims by or against the Debtor or
Plan Administrator, if any, or to prejudice in any manner the rights of either of the Debtor or Plan
Administrator, if any, in any further proceedings involving the Debtor.

G.       Binding Effect

                The Combined Disclosure Statement and Plan shall be binding upon and inure to
the benefit of the Debtor, the Holders of Claims, and the Holders of Equity Interests, and their
respective successors and assigns.

H.       Notices

                All notices, requests and demands to or upon the Plan Administrator or the Debtor,
as applicable, to be effective shall be in writing and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of notice
by facsimile transmission, when received and telephonically confirmed, addressed as shall be set
forth in the notice of the Effective Date.

I.       Governing Law

                Except to the extent the Bankruptcy Code, Bankruptcy Rules or other federal law
is applicable, or to the extent an exhibit to the Combined Disclosure Statement and Plan provides
otherwise, the rights and obligations arising under the Combined Disclosure Statement and Plan
shall be governed by, and construed and enforced in accordance with, the laws of the State of
Delaware, without giving effect to the principles of conflicts of law of such jurisdiction.

J.       Withholding and Reporting Requirements

              In connection with the consummation of the Combined Disclosure Statement and
Plan, the Debtor and Plan Administrator shall comply with all withholding and reporting
requirements imposed by any federal, state, local or foreign taxing authority and all Distributions
hereunder shall be subject to any such withholding and reporting requirements. Notwithstanding

                                                68
RLF1 28213990v.1
               Case 22-10621-BLS        Doc 335       Filed 11/08/22    Page 81 of 84




the above, each Holder of an Allowed Claim or, if applicable, Allowed Equity Interest, that is to
receive a Distribution under the Combined Disclosure Statement and Plan shall have the sole and
exclusive responsibility for the satisfaction and payment of any tax obligations imposed on such
Holder by any Governmental Unit, including income, withholding and other tax obligations, on
account of such Distribution. The Debtor and the Plan Administrator have the right, but not the
obligation, to not make a Distribution until such Holder has made arrangements satisfactory to any
disbursing party for payment of any such tax obligations. The Debtor or Plan Administrator may
require, as a condition to receipt of a Distribution, that the Holder of an Allowed Claim or, if
applicable, Allowed Equity Interest, complete and return a Form W-8, W-9 or a similar tax form,
as applicable to each such Holder. If the Debtor or Plan Administrator make such a request and
the Holder fails to comply before the date that is 90 days after the request is made, such Holder
shall be deemed to have forfeited rights to all Distributions and the amount of such forfeited
Distributions shall irrevocably revert to the Debtor and any Claim or, if applicable, Equity Interest,
in respect of such Distribution shall be disallowed and forever barred from assertion against the
Debtor or its property.

K.       Headings

               Headings are used in the Combined Disclosure Statement and Plan for convenience
and reference only, and shall not constitute a part of the Combined Disclosure Statement and Plan
for any other purpose.

L.       Exhibits/Schedules

               All exhibits and schedules to the Combined Disclosure Statement and Plan,
including the Plan Supplement, are incorporated into and are a part of the Combined Disclosure
Statement and Plan as if set forth in full herein.

M.       Filing of Additional Documents

              On or before substantial consummation of the Combined Disclosure Statement and
Plan, the Debtor shall file with the Bankruptcy Court such agreements and other documents as
may be necessary or appropriate to effectuate and further evidence the terms and conditions of the
Combined Disclosure Statement and Plan.

N.       No Admissions

               Notwithstanding anything herein to the contrary, nothing contained in the
Combined Disclosure Statement and Plan shall be deemed as an admission by any Entity with
respect to any matter set forth herein.

O.       Successors and Assigns

               The rights, benefits and obligations of any Person or Entity named or referred to in
the Combined Disclosure Statement and Plan shall be binding on, and shall inure to the benefit of
any heir, executor, administrator, successor or assign of such Person or Entity.

P.       Reservation of Rights

                                                 69
RLF1 28213990v.1
               Case 22-10621-BLS      Doc 335       Filed 11/08/22   Page 82 of 84




                 Except as expressly set forth herein, the Combined Disclosure Statement and Plan
shall have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order. None
of the filing of the Combined Disclosure Statement and Plan, any statement or provision contained
herein, or the taking of any action by the Debtor with respect to the Combined Disclosure
Statement and Plan shall be or shall be deemed to be an admission or waiver of any rights of the
Debtor, Holders of Claims or Equity Interest before the Effective Date.

Q.       Implementation

               The Debtor shall take all steps, and execute all documents, including appropriate
releases, necessary to effectuate the provisions contained in this Combined Disclosure Statement
and Plan.

R.       Inconsistency

              In the event of any inconsistency among the Combined Disclosure Statement and
Plan and any other instrument or document created or executed pursuant to the Combined
Disclosure Statement and Plan, the provisions of the Combined Disclosure Statement and Plan
shall govern.

S.       Dissolution of Debtor

              Upon the closing of the Chapter 11 Case, the Debtor shall be deemed dissolved
under applicable law without the need for filing any documents.

T.       Termination of the Plan Administrator

               After the Chapter 11 Case is closed and the Plan Administrator has completed all
of the tasks necessary in order to fully and completely wind down, dissolve and/or terminate the
Debtor and to otherwise comply with its obligations under the terms of the Combined Disclosure
Statement and Plan, the Plan Administrator shall have fully completed its duties under the
Combined Disclosure Statement and Plan and thereby shall be fully released and discharged of its
duties and obligations to carry out the terms of the Combined Disclosure Statement and Plan.




                                               70
RLF1 28213990v.1
               Case 22-10621-BLS       Doc 335       Filed 11/08/22   Page 83 of 84




U.       Request for Expedited Determination of Taxes

                The Debtor and the Plan Administrator shall have the right to request an expedited
determination under section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to
be filed, for any and all taxable periods ending after the Petition Date through the Effective Date.



 Dated: November 8, 2022                             Redwood Liquidating Co.
        Wilmington, Delaware
                                                     By:    Peter Swider
                                                           Peter Swider
                                                           Chief Wind-down Officer,
                                                           President and Secretary




                                                71
RLF1 28213990v.1
               Case 22-10621-BLS   Doc 335    Filed 11/08/22   Page 84 of 84




                                       EXHIBIT A

                                   Liquidation Analysis

                                      [To Be Filed]




RLF1 28213990v.1
